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  13                     IN THE UNITED STATES DISTRICT COURT
  14                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
  15 B&L PRODUCTIONS, INC., d/b/a                CASE NO: 8:22-cv-01518 JWH (JDEx)
     CROSSROADS OF THE WEST;
  16 GERALD CLARK; ERIC JOHNSON;                 FIRST AMENDED COMPLAINT FOR
     CHAD LITTRELL; JAN STEVEN                   DECLARATORY & INJUNCTIVE
  17 MERSON; CALIFORNIA RIFLE &                  RELIEF
     PISTOAL ASSOCIATION,
  18 INCORPORATED; ASIAN PACIIC                  (1) VIOLATION OF 42 U.S.C. § 1983
     AMERICAN GUN OWNERS                         [FREE SPEECH - POLITICAL];
  19 ASSOCIATION; SECOND
     AMENDMENT LAW CENTER, INC.;                 (2) VIOLATION OF 42 U.S.C. § 1983
  20 and SECOND AMENDMENT                        [FREE SPEECH-MIXED POLITICAL/
     FOUNDATION,                                 COMMERCIAL];
  21
                               Plaintiffs,       (3) VIOLATION OF 42 U.S.C. § 1983
  22                                             [FREE SPEECH-COMMERCIAL];
                      v.
  23                                             (4) VIOLATION OF 42 U.S.C. § 1983
     GAVIN NEWSOM, in his official               [PRIOR RESTRAINT ON SPEECH];
  24 capacity as Governor of the State of
     California; ROB BONTA, in his official      (5) VIOLATION OF 42 U.S.C. § 1983
  25 capacity as Attorney General of the         [RIGHT TO ASSEMBLY];
     State of California; KAREN ROSS, in
  26 her official capacity as Secretary of       (6) VIOLATION OF 42 U.S.C. § 1983
     California Department of Food &             [EQUAL PROTECTION];
  27 Agriculture and in his personal capacity;
     TODD SPITZER, in his official capacity(7) VIOLATION OF 42 U.S.C. § 1983
  28 as District Attorney of Orange County;[SECOND AMENDMENT].
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   1 32nd DISTRICT AGRICULTURAL
     ASSOCIATION; DOES 1-10;                 DEMAND FOR JURY TRIAL
   2
                       Defendants.           NOTICE OF
   3                                         UNCONSTITUTIONALITY OF
                                             STATE STATUTE
   4
                                             NOTICE OF RELATED CASE
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                              FIRST AMENDED COMPLAINT
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   1                                     INTRODUCTION
   2         1.     Plaintiff B & L PRODUCTIONS, INC., d/b/a CROSSROADS OF THE
   3   WEST (“Plaintiff Crossroads”) has operated popular, safe, heavily regulated, legal,
   4   and family-friendly gun shows as a business in California for over 30 years,
   5   including at the Orange County Fair & Event Center (“the Fairgrounds”).
   6         2.     Plaintiff Crossroads produces gun shows at the Fairgrounds where like-
   7   minded individuals gather to engage in commerce related to, and necessary for, the
   8   lawful and regulated exercise of Second Amendment rights for themselves, their
   9   exhibitors, their patrons, their customers, and the general public. This safe and
  10   regulated marketplace promotes public safety, even for people who do not attend
  11   gun shows because it will tend to reduce the unregulated transfer of firearms within
  12   Orange County. Furthermore, by providing a convenient forum for Californians to
  13   exercise their right to acquire firearms locally, gun shows at the Fairgrounds will
  14   have the tendency to discourage the sale and importation of firearms from other
  15   states with less strict gun laws than California.
  16         3.     Plaintiffs Gerald Clark, Eric Johnson, Chad Littrell, Jan Steven Merson,
  17   California Rifle & Pistol Association, Incorporated, Second Amendment Law
  18   Center, Inc., Asian Pacific American Gun Owners Association, and Second
  19   Amendment Foundation, Inc., attend and participate in Plaintiff Crossroads’ gun
  20   show events at the Fairgrounds and elsewhere throughout California to engage in
  21   First Amendment activities that are both necessary and essential to the open, robust,
  22   and lawful exercise of their Second Amendment rights. Plaintiff CRPA also has
  23   members who attend gun shows and sell ammunition, firearms, and precursor parts.
  24         4.     At the gun show, Plaintiffs associate with like-minded people,
  25   participate in public discussions, attend informational forums, distribute and collect
  26   information, provide training, make offers for sale, make offers to buy, and engage
  27   in legal and political discussions related to the Second Amendment, which are all
  28   forms of speech protected by the First Amendment. Discussions include, but are not
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   1   limited to, firearms and ammunition, firearm technology, firearm safety, and firearm
   2   law and politics. Participants also exchange information about where to hunt and
   3   where to practice shooting, where and from whom to receive training, gunsmithing,
   4   gun repair, gun art, and many other topics that arise from the right to acquire, own,
   5   possess, enjoy, and celebrate arms as a quintessentially American artifact with
   6   constitutional significance.
   7          5.    Defendants are government actors who are responsible for the adoption
   8   and enforcement of Senate Bill 264 (Min), codified at California Penal Code section
   9   27575,1 which prohibits the sale of firearms, ammunition, and “firearm precursor
  10   parts” at the Fairgrounds, and Senate Bill 915 (Min), codified at California Penal
  11   Code section 27573,2 which prohibits the sale of firearms, ammunition, and “firearm
  12   precursor parts” on all state-owned property with the intention and effect of
  13   shuttering gun show events altogether.
  14          6.    Through their enforcement of SB 264 and SB 915, the government
  15   Defendants have engaged in and will continue to engage in action that violates
  16   Plaintiffs’ constitutional rights to free speech, assembly, and equal protection, as
  17   well as their Second Amendment right to buy, sell, and acquire firearms and
  18   ammunition at a gun show. Their actions also constitute an unconstitutional prior
  19   restraint.
  20          7.    This action seeks declaratory and injunctive relief against Defendants
  21   for violating the United States Constitution. It also seeks damages for lost profits,
  22   lost opportunities, and diminished marketing value, and reimbursement for
  23   reasonable attorney’s fees, costs, and other expenses in bringing this action.
  24                             JURISDICTION AND VENUE
  25          8.    The Court has original jurisdiction of this civil action under 28 U.S.C. §
  26
          1
            Plaintiffs refer to the challenged law, California Penal Code section 27575, as
  27   SB 2264 throughout this complaint.
            Plaintiffs refer to the challenged law, California Penal Code section 27573, as
  28   SB 915 throughout this complaint.
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                                   FIRST AMENDED COMPLAINT
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   1   1331 because the action arises under the Constitution and laws of the United States,
   2   thus raising federal questions. The Court also has jurisdiction under 28 U.S.C. §
   3   1343(a)(3) and 42 U.S.C. § 1983 since this action seeks to redress the deprivation,
   4   under color of the laws, statutes, ordinances, regulations, customs and usages of the
   5   State of California and political subdivisions thereof, of rights, privileges or
   6   immunities secured by the United States Constitution and by Acts of Congress
   7          9.    Plaintiffs’ claims for declaratory and injunctive relief are authorized by
   8   28 U.S.C. §§ 2201 and 2202, respectively, and their claim for attorneys’ fees is
   9   authorized by 42 U.S.C. § 1988.
  10          10.   Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because the
  11   32nd District Agricultural Association is located within this district and a substantial
  12   part of the events or omissions giving rise to Plaintiffs’ claims occurred in this
  13   district.
  14                                          PARTIES
  15                                         [Plaintiffs]
  16          11.   Plaintiff B&L PRODUCTIONS, INC., d/b/a CROSSROADS OF THE
  17   WEST, is a for-profit event promoter operating in several western states. Crossroads
  18   is in the business of promoting and organizing trade shows throughout the state of
  19   California and other western states, including their long-running gun show events
  20   held at the Orange County Fair & Event Center (“the Fairgrounds”) operated under
  21   the d/b/a Crossroads of the West (“Plaintiff Crossroads”). Before the adoption and
  22   enforcement of SB 264 and SB 915, Plaintiff Crossroads was the largest vendor of
  23   gun show events in California and at the Fairgrounds. Typically, thousands of
  24   people attend Plaintiff Crossroads’ gun shows on each of the weekends they are
  25   held. Crossroads provides the space for these like-minded people to assemble. They
  26   have successfully produced and operated multiple safe, legal, and family-friendly
  27   gun show events in California and at the Fairgrounds every year for over 30 years.
  28   But for Defendants’ adoption and enforcement of SB 264 and SB 915, Plaintiff
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   1   Crossroads would immediately resume producing and promoting gun show events at
   2   the Fairgrounds and at other state-owned fairgrounds throughout California.
   3         12.    Plaintiff GERALD CLARK is a resident of Santa Ana, California, and
   4   he is an NRA certified instructor. Before the implementation of SB 264 and SB 915,
   5   he regularly attended Plaintiff Crossroads’ gun show events at the Fairgrounds to
   6   purchase firearms, ammunition, parts for firearms already owned, and materials to
   7   help him with his training and as a gun owner to be more proficient. He has taught
   8   gun safety and training courses for 12 years, and he has taught those courses at the
   9   Crossroads gun show at the Fairgrounds as a Chief Range Safety Officer and
  10   Certified Trainer. During the training courses, he talks to others about their rights,
  11   the importance of membership in the CRPA, and the Second Amendment. SB 264
  12   and SB 915 directly burden his right to engage in otherwise lawful commercial
  13   speech in a public forum and restricts his ability to purchase ammunition, firearms,
  14   and parts for lawful purposes. And because the ban is intended to make gun shows
  15   less profitable and has in fact effectively banned them altogether, it also restricts his
  16   right to engage in the unique types of political, educational, and commercial speech
  17   that takes place at the gun show. But for Defendants’ adoption and enforcement of
  18   SB 264 and SB 915, Plaintiff Clark would continue attending and participating in
  19   the Crossroads gun show events at the Fairgrounds.
  20         13.    Plaintiff ERIC JOHNSON is a resident of Whittier, California, and he
  21   is a Certified Trainer, Range Safety Expert, retired coach, and Chief Range Safety
  22   Officer. Before the implementation of SB 264 and SB 915, he regularly attended
  23   Plaintiff Crossroads’ gun show events at the Fairgrounds to purchase firearms,
  24   ammunition reloading supplies, ammunition, parts for the firearms he owns,
  25   materials for caring for his firearms, and much more. Plaintiff Johnson also attended
  26   the Crossroads gun show at the Fairgrounds to engage in expressive activities with
  27   like-minded people, including discussions related to firearms, ammunition, and
  28   firearm accessories, the shooting sports, politics, and the Second Amendment. He
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                                 FIRST AMENDED COMPLAINT
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   1   regularly sets up and works Plaintiff CRPA’s vendor booths at gun shows at the
   2   Fairgrounds. SB 264 and SB 915 directly burden his right to engage in otherwise
   3   lawful commercial speech in a public forum and restricts his ability to purchase
   4   ammunition, firearms, and parts for lawful purposes. And because the ban is
   5   intended to make gun shows less profitable and has in fact effectively banned them
   6   altogether, it also restricts his right to engage in the unique types of political,
   7   educational, and commercial speech that takes place at the gun show. But for
   8   Defendants’ adoption and enforcement of SB 264 and SB 915, Plaintiff Johnson
   9   would continue attending and participating in the Crossroads gun show events at the
  10   Fairgrounds.
  11         14.      Plaintiff CHAD LITTRELL is a resident of La Habra, California, and
  12   owns Vytamenc 22 Tactical. Before the implementation of SB 264 and SB 915, his
  13   company was a regular vendor at Plaintiff Crossroads’ gun show events at the
  14   Fairgrounds. At these events, he would lawfully sell “uppers,” precursor parts, and
  15   AR-15 rifles and discuss issues regarding firearms, ammunition, and gun safety with
  16   customers of the gun show. Plaintiff Littrell also attended the Crossroads gun show
  17   at the Fairgrounds to engage in expressive activities with like-minded people,
  18   including discussions related to firearms, ammunition, and firearm accessories, the
  19   shooting sports, politics, and the Second Amendment. SB 264 and SB 915 directly
  20   burden his right to engage in otherwise lawful commercial speech in a public forum
  21   and restricts his ability to sell and purchase ammunition, firearms, and parts for
  22   lawful purposes. And because the ban is intended to make gun shows less profitable
  23   and has in fact effectively banned them altogether, it also restricts his right to engage
  24   in the unique types of political, educational, and commercial speech that takes place
  25   at the gun show. Because of the essential shutting down of gun shows at the
  26   Fairgrounds, Plaintiff Littrell had to close his business. But for Defendants’ adoption
  27   and enforcement of SB 264 and SB 915, Plaintiff Clark would re-open his business
  28   and continue attending and participating in the Crossroads gun show events at the
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                                FIRST AMENDED COMPLAINT
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   1   Fairgrounds.
   2         15.      Plaintiff JAN STEVEN MERSON is a resident of Fullerton, California,
   3   and he owns Merson’s Machining Tool Making and Gunsmithing. Before the
   4   implementation of SB 264 and SB 915, his company (then known as Merson’s
   5   Custom Tooling & Gunsmith) was a regular vendor at Plaintiff Crossroads’ gun
   6   show events at the Fairgrounds. At these events, he would lawfully sell “firearm
   7   precursor parts”—which are legal products in California and are not considered
   8   firearms by legal definition. Plaintiff Merson also attended the Crossroads gun show
   9   at the Fairgrounds to engage in expressive activities with like-minded people,
  10   including discussions related to firearms, ammunition, and firearm accessories, the
  11   shooting sports, politics, and the Second Amendment. SB 264 and SB 915 directly
  12   burden his right to engage in otherwise lawful commercial speech in a public forum
  13   and restricts his ability to sell and purchase ammunition, firearms, and parts for
  14   lawful purposes. And because the ban is intended to make gun shows less profitable
  15   and has in fact effectively banned them altogether, it also restricts his right to engage
  16   in the unique types of political, educational, and commercial speech that takes place
  17   at the gun show. But for Defendants’ adoption and enforcement of SB 264 and SB
  18   915, Plaintiff Merson would continue attending and participating in the Crossroads
  19   gun show events at the Fairgrounds.
  20         16.      Plaintiff ASIAN PACIFIC AMERICAN GUN OWNERS
  21   ASSOCIATION (“APAGOA”) is a nonprofit organization incorporated under the
  22   laws of Texas and registered with the California Secretary of State to do business in
  23   the state of California. APAGOA is a community of gun owners with an Asian
  24   Pacific American (“APA”) heritage. Its core focus is to promote safe and
  25   responsible gun ownership within the APA community by providing educational
  26   materials and other resources to its members and other interested parties. APAGOA
  27   advocates for firearm safety, education, and community-building initiatives. And it
  28   strives to educate and empower the APA gun owner community so they can use
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   1   their firearms safely and responsibly. It brings this action on behalf of its
   2   approximately 270 members and supporters who reside in California and, but for the
   3   implementation of SB 264 and SB 915, would attend and participate in the
   4   Crossroads gun show events at the Fairgrounds.
   5         17.    Plaintiff CALIFORNIA RIFLE & PISTOL ASSOCIATION,
   6   INCORPORATED (“CRPA”) is a nonprofit membership organization incorporated
   7   under the laws of California, with headquarters in Fullerton, California. Among its
   8   other activities, CRPA works to preserve and expand constitutional and statutory
   9   rights of gun ownership, including the right to self-defense and the right to keep and
  10   bear arms. CRPA accomplishes this through its educational offerings, publications,
  11   member engagement events, and legislative advocacy and initiatives. CRPA has
  12   individual members and business affiliates that attend gun shows. Before the
  13   implementation of SB 264 and SB 915, CRPA and many of its members were
  14   regular vendors at Plaintiff Crossroads’ gun show events at the Fairgrounds, where
  15   they engaged the public in discussions about the organization and its purposes, the
  16   shooting sports, firearms and firearm safety, and the Second Amendment and other
  17   political issues. CRPA and its members also attended gun shows at the Fairgrounds
  18   to sell organization memberships, advertise its events, distribute its publications, and
  19   sell its merchandise, some of which includes expressly pro-gun messaging.
  20   Members of CRPA would attend to advertise events, distribute publications, sell
  21   merchandise, ammunition, and firearms, some of which includes expressly pro-gun
  22   messaging. CRPA has also hosted political rallies, educational seminars, and range
  23   safety officer training at gun shows throughout the state, including those at the
  24   Fairgrounds. CRPA members and other gun enthusiasts attended these political
  25   rallies. CRPA has tens of thousands of members and supporters, many of whom
  26   attended the Crossroads gun shows at the Fairgrounds to engage in expressive
  27   activities with like-minded people, including discussions related to firearms,
  28   ammunition, and firearm accessories, the shooting sports, politics, and the Second
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                               FIRST AMENDED COMPLAINT
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   1    Amendment. SB 264 and SB 915 directly burden the right of CRPA, its officers,
   2    employees, volunteers, members, and supporters, to engage in otherwise lawful
   3    commercial speech in a public forum and to buy and sell firearms, ammunition, and
   4    parts for lawful purposes. And because the ban on sales of firearms, ammunition,
   5    and parts is intended to make gun shows less profitable and has in fact effectively
   6    banned them altogether, it restricts the right of CRPA, its officers, employees,
   7    volunteers, members, and supporters, to engage in the unique types of political,
   8    educational, and commercial speech that takes place at the gun show. But for
   9    Defendants’ adoption and enforcement of SB 264 and SB 915, Plaintiff CRPA, its
  10    members, and supporters would continue attending and participating in the
  11    Crossroads gun show events at the Fairgrounds. Through this lawsuit, CRPA
  12    represents not only its own interests as a gun show vendor, but also the interests of
  13    its members as gun show vendors and attendees and supporters of the right to keep
  14    and bear arms for lawful purposes.
  15          18.     Plaintiff SECOND AMENDMENT LAW CENTER, INC. (“2ALC”),
  16    is a nonprofit organization, incorporated under the laws of Nevada with headquarters
  17    in Henderson, Nevada, and registered with the California Secretary of State to do
  18    business in the state of California. 2ALC works to advance Second Amendment
  19    jurisprudence across the country while educating the public, participating in
  20    scholarly research, and providing thought-provoking writings and content to help
  21    advance the Second Amendment. 2LC works to support and protect Second
  22    Amendment rights across the country, and they distribute materials at gun shows in
  23    California to inform the public about their work. Because the ban on sales of
  24    firearms and ammunition at the Fairgrounds is intended to make gun shows less
  25    profitable and has in fact effectively banned them altogether, it restricts the rights of
  26    2ALC to share education and training materials with gun owners and those that
  27    attend gun show events. In this lawsuit, 2ALC represents its interests as a gun show
  28    attendee and purveyor of educational materials.
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                                 FIRST AMENDED COMPLAINT
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   1              19.   Plaintiff SECOND AMENDMENT FOUNDATION, INC. (“SAF”) is a
   2    non-profit membership organization. It is incorporated under the laws of the state of
   3    Washington and was founded in 1974. SAF has over 700,000 members and
   4    supporters nationwide, including thousands of members in California. The purposes
   5    of SAF include education, research, publishing, and litigation. It is critical to the
   6    success of SAF that its promotional material, publications, and messages about the
   7    “right to keep and bear arms” reach demographic groups that are saturated with gun
   8    owners, gun buyers, and people of the “gun culture.” Gun Shows like the one
   9    threatened by the Defendants’ actions interfere with this effort. SAF is dedicated to
  10    promoting a better understanding about our constitutional heritage to privately own
  11    and possess firearms through educational and legal action programs designed to
  12    better inform the public about gun control issues. SAF has been a pioneer in
  13    innovative defense of the right to keep and bear arms, through its publications and
  14    public education programs like the Gun Rights Policy Conference. Those
  15    publications and other SAF materials and information are offered at gun show
  16    events. Second Amendment Foundation also expends significant sums of money
  17    sponsoring public interest litigation to defend its own interests to disseminate
  18    information to like-minded individuals, in an individualized setting like a gun show,
  19    but SAF also seeks to defend the interests of its member in lawsuits like this present
  20    effort.
  21                                          [Defendants]
  22              20. Defendant GAVIN NEWSOM is the Governor of the State of
  23    California. As Governor, he is vested with “the supreme executive power” of the
  24    state and “shall see that the law is faithfully executed.” Cal. Const. art. 5, §1.
  25    Defendant Newsom has more than an incidental relationship with the enforcement
  26    of SB 264 and SB 915. In fact, Defendant Newsom has pressured fairgrounds boards
  27    in California to ban safe and lawful gun show events on those properties. And,
  28    because he alone is vested with the authority to appoint and terminate fair board
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                                 FIRST AMENDED COMPLAINT
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   1    members, Defendant Newsom has a unique ability to coerce fair boards responsible
   2    for managing state fairgrounds to not enter contracts with gun show promoters for
   3    use of these public venues–even if those events otherwise comply with the law.
   4    Defendant Newsom is sued in his official capacity.
   5           21. Defendant ROB BONTA is the Attorney General of the State of
   6    California. He is the “chief law officer” of the state and has the duty to ‘see that the
   7    laws of the State are uniformly and adequately enforced.” Cal. Const. art. 5, § 1.
   8    Additionally, Defendant Bonta has “direct supervision over every district attorney”
   9    within the State. Id. If, at any point a district attorney of the State fails to enforce
  10    adequately “any law of the State,” Defendant Bonta must “prosecute any violations
  11    of the law.” Id. Finally, Defendant Bonta, as Attorney General of the State of
  12    California, “shall assist any district attorney in the discharge” of duties when
  13    “required by the public interest or directed by the Governor. . . .” Id. He is thus
  14    responsible for the enforcement of SB 264 and SB 915 and for prosecuting
  15    violations of these laws. Defendant Bonta is sued in his official capacity.
  16           22. Defendant TODD SPITZER is the District Attorney responsible for
  17    enforcing the law within the county of Orange. Under the California Government
  18    Code, the district attorney must prosecute “all actions for the recovery” of fines and
  19    penalties. Cal. Gov’t Code § 26521. He is thus responsible for the enforcement of
  20    SB 264 and SB 915 and for prosecuting violations of these laws. Defendant Spitzer
  21    is sued in his official capacity.
  22           23. Defendant KAREN ROSS is the Secretary of the California Department
  23    of Food & Agriculture—the entity responsible for the policy oversight of the
  24    network of California fair venues, which includes the Orange County Fair & Event
  25    Center. Through the Department, Defendant Ross issues guidance for governance
  26    and contracting to all agricultural districts throughout California (including
  27    Defendant District) and requires reporting from the districts on operational issues.
  28    Because of her direct supervision of all fair boards responsible for managing state
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                                 FIRST AMENDED COMPLAINT
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   1    fairgrounds, Defendant Ross has the ability to direct fair boards to not enter
   2    contracts with gun show promoters for use of these public venues–even if those
   3    events otherwise comply with the law. The Department maintains an office of legal
   4    counsel for any actions brought against Agricultural Association Districts in the
   5    state. Defendant Ross is sued in her official capacity.
   6           24. Defendant 32nd DISTRICT AGRICULTURAL ASSOCIATION
   7    (“District”) is a Governor-appointed Board of Directors that manages the state-
   8    owned Orange County Fair & Event Center public venue. The District is governed
   9    by a nine-member board, each member serving a four-year term. The District Board
  10    of Directors appoints a CEO charged with the daily operations of the facilities but
  11    maintains control over activities not delegated to the CEO, including contracting
  12    with those seeking to host events, including gun shows, at the Fairgrounds. It is
  13    responsible for ensuring that all state laws governing gun shows at the Fairgrounds,
  14    including SB 264 and SB 915, are faithfully enforced. Defendant District refused to
  15    consider contracts for the gun show by refusing to place the question of contract
  16    approval on monthly meeting agendas when considering other similar contracts.
  17           25. The true names and capacities of Defendants named as DOES 1
  18    through 10, inclusive, are individual, corporate, associate or otherwise, and are
  19    unknown to Plaintiffs. They are, however, believed to be responsible in some way
  20    for Plaintiffs’ loss and damages. Each Doe Defendant is, and at all times mentioned
  21    here was, a partner, agent, principal, co-conspirator, or are otherwise vicariously or
  22    directly responsible for the acts or omissions of the other defendants or themselves.
  23    They are each sued individually and are joined as party defendants. Plaintiffs thus
  24    sue each Doe Defendant under rules 15 and 21 of the Federal Rules of Civil
  25    Procedure. Plaintiffs are informed and believed that the Doe Defendants are all
  26    California residents. Plaintiffs will amend this complaint to show such true names
  27    and capacities of Doe Defendants when they have been ascertained.
  28    ///
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                                  FIRST AMENDED COMPLAINT
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   1                                FACTUAL ALLEGATIONS
   2        [The First Amendment Rights to Free Speech, Association, & Assembly]
   3          26.    The First Amendment provides, in part, that “Congress shall make no
   4    law . . . abridging the freedom of speech,” U.S. Const. amend. I. It is incorporated
   5    and made applicable to the states by the Fourteenth Amendment to the United States
   6    Constitution and by 42 U.S.C. § 1983.
   7          27.    Political and ideological speech—including speech concerning
   8    “politics, nationalism, religion, or other matters of opinion”—has long been
   9    considered the core of the First Amendment. W. Va. State Bd. of Educ. v. Barnette,
  10    319 U.S. 624, 642 (1943).
  11          28.    Public property made available for lease by community groups to
  12    engage in expressive activity must thus be available without regard to the viewpoint
  13    sought to be expressed Cinevision Corp. v. City of Burbank, 745 F.2d 560 (9th Cir.
  14    1984). Such venues cannot be opened to some and closed to others, suppressing
  15    protected expression, absent a compelling government interest. Id. at 571.
  16          29.    The First Amendment does not tolerate the suppression of speech based
  17    on what some may label an unpopular viewpoint of the speaker. John J. Hurley and
  18    S. Boston Allied War Vets. Council v. Irish-Am. Gay, Lesbian & Bisexual Group of
  19    Boston, 515 U.S. 557 (1995). Indeed, “above all else, the First Amendment means
  20    that the government has no power to restrict expression because of its message, its
  21    ideas, its subject matter, or its content.” Mosley, 408 U.S. at 95 (emphasis added);
  22    see also Ashcroft, 535 U.S. at 573.
  23          30.    A content-based restriction that implicates political or ideological
  24    speech must generally survive “strict scrutiny,” where the government must show
  25    that the law is narrowly tailored to achieve a compelling government interest. See
  26    Reed v. Town of Gilbert, 576 U.S. 155 (2015); see also Lorillard Tobacco Co. v.
  27    Reilly, 533 U.S. 525 (2001) (holding that tobacco marketing restrictions – even
  28    those purposed to protecting minors -- must be the narrowest means of achieving an
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   1    asserted state interest); Brown v. Entm’t Merchs. Ass’n, 564 U.S. 786 (2011)
   2    (overturing California law banning sale or rental of “violent video games” to
   3    minors); see also Tracy Rifle & Pistol LLC v. Harris, 339 F. Supp. 3d 1007, 1018
   4    (E.D. Cal. 2018) (holding that a California law prohibiting the display of a handgun,
   5    an imitation handgun, or a placard advertising the sale of a handgun in a manner that
   6    is visible from the outside of a gun dealer’s premises is unconstitutional).
   7           31.   Even purely commercial speech—speech that “does no more than
   8    propose a commercial transaction” or relates solely to the economic interests of the
   9    speaker and audience—receives First Amendment protection if it is not misleading
  10    and concerns a lawful activity. Cent. Hudson Gas & Elec. Corp. v. Public Serv.
  11    Comm’n, 447 U.S. 557 (1980).
  12           32.   “An offer to sell firearms or ammunition” is constitutionally protected
  13    commercial speech. Nordyke v. Santa Clara, 110 F.3d 707, 710 (9th Cir. 2009).
  14           33.   Government restrictions on protected commercial speech are
  15    constitutional only if they directly advance a substantial government interest and are
  16    not broader than necessary to serve that interest. Cent. Hudson, 447 U.S. 557.3
  17           34.   The First Amendment protects not only the right of free speech, but
  18    also “the right of the people peaceably to assemble.” U.S. Const., amend. I. The
  19    right to assemble often merges with the right to free expression. For “[e]ffective
  20    advocacy of both public and private points of view, particularly controversial ones,
  21
           3
             Though this is currently the controlling test for so-called “commercial speech,”
  22    modern case law is trending toward extending full First Amendment protection to all
        speech, including “commercial speech.” See Sorrell v. IMS Health, Inc., 564 U.S.
  23    552 (moving toward providing commercial speech the same level of heightened
        protection long accorded to political speech); see also 44 Liquormart, Inc. v. Rhode
  24    Island, 517 U.S. 484, 523 (1996) (Thomas, J., concurring in part and concurring in
        judgment) (“I do not see a philosophical or historical basis for asserting that
  25    ‘commercial’ speech is of ‘lower value’ than ‘noncommercial’ speech. Indeed, some
        historical materials suggest to the contrary.”).
  26        Furthermore, Bruen’s command that courts conduct an historical/categorical
        analysis when evaluating the constitutionality of laws that impact Second
  27    Amendment rights (the right to buy, sell, and acquire at a gun show at issue here)
        means that the Defendants bear a heavy burden to produce relevant (non-racist) laws
  28    (circa. 1868) that forbid offers to buy and sell firearms on public property.
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   1    is undeniably enhanced by group association.” NAACP v. Patterson, 357 U.S. 449,
   2    462 (1958). “Governmental action which may have the effect of curtailing the
   3    freedom to associate is subject to the closest scrutiny.” Id. at 461-62.
   4       [The Second Amendment Right to Keep and Bear Arms Under the Law]
   5          35.    The Second Amendment to the United States Constitution declares that
   6    “the right of the people to keep and bear arms shall not be infringed.” U.S. Const.
   7    amend. II.
   8          36.    The Second Amendment protects a fundamental, individual right that
   9    applies against both the federal government and the states. District of Columbia v.
  10    Heller, 554 U.S. 570, 592 (2008); McDonald v. City of Chicago, 561 U.S. 742, 750
  11    (2010).
  12          37.    The Supreme Court recently confirmed that Second Amendment
  13    questions are to be analyzed in light of “text, history, tradition.” “When the Second
  14    Amendment’s plain text covers an individual’s conduct, the Constitution
  15    presumptively protects that conduct. The government must then justify its regulation
  16    by demonstrating that it is consistent with the Nation’s historical tradition of firearm
  17    regulation.” N.Y. State Rifle & Pistol Ass’n v. Bruen, --U.S.--, 142 S. Ct. 2111, 2126
  18    (2022) (citing Heller, 554 U.S. at 634).
  19          38.    The Second Amendment protects the right to possess and use arms that
  20    are “typically possessed by law-abiding citizens for lawful purposes.” See, e.g.,
  21    Heller, 554 U.S. at 624-25; See also Caetano v. Massachusetts, 577 U.S. 411, 136 S.
  22    Ct. 1027, 1027-28 (2016). That protection “extends, prima facie, to all instruments
  23    that constitute bearable arms, even those that were not in existence at the time of the
  24    founding.” Heller, 544 U.S. at 582. It also includes the ammunition necessary to use
  25    firearms for their core lawful purposes. See Jackson v. City & Cnty. of San
  26    Francisco, 746 F.3d at 967-68 (recognizing that “without bullets, the right to bear
  27    arms would be meaningless.”).
  28          39.    Finally, the Second Amendment protects the corresponding right to
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   1    obtain protected firearms and ammunition. See id. at 967 (“‘[T]he right to possess
   2    firearms for protection implies a corresponding right’ to obtain bullets necessary to
   3    use them.”); see also Ezell v. City of Chicago, 651 F.3d 684, 704 (7th Cir. 2011)
   4    (holding that the right to possess firearms implies a corresponding right to access
   5    firing ranges to train to be proficient with such firearms).
   6        [The Fourteenth Amendment Right to Equal Protection Under the Law]
   7          40.    The Fourteenth Amendment to the United States Constitution,
   8    enforceable under 42 U.S.C. § 1983, provides that no state shall deny to any person
   9    within its jurisdiction the equal protection of the laws.
  10          41.    Singling out speakers because of the content of their speech also
  11    violates their fundamental rights under the Equal Protection Clause. U.S. Const.
  12    amend. XIV.
  13          42.    If unequal treatment occurs in the context of exercising a fundamental
  14    right, or the government is motivated by animus toward a disfavored group, courts
  15    apply heighted scrutiny. See Loving v. Virginia, 388 U.S. 1, 11 (1967); see also
  16    Cleburne v. Cleburne Living Center, Inc., 473 U.S. 432 (1985); Romer v. Evans, 517
  17    U.S. 620 (1996). Indeed, “[b]ecause the right to engage in political expression is
  18    fundamental to our constitutional system, statutory classifications impinging upon
  19    that right must be narrowly tailored to serve a compelling governmental interest.”
  20    Austin v. Mich. Chamber of Commerce, 494 U.S. 652, 666 (1990), rev’d on other
  21    grounds, Citzs. United v. Fed. Elec. Comm’n, 558 U.S. 310, 130 S. Ct. 876 (2010).
  22                      [Regulation of Gun Show Events in California]
  23          43.    The state of California has the most rigorous regulatory regime for
  24    commerce in firearms and ammunition in the United States. That regulatory regime
  25    applies to the operation of gun show events throughout California. The laws related
  26    to the acquisition and sale of firearms are arguably stricter at gun shows than at
  27    brick-and-mortar stores or internet sales.
  28          44.    Only state-approved, licensed gun show producers may operate gun
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   1    shows in California.
   2          45.    All gun show producers, including Plaintiff Crossroads, must have an
   3    individual (the “promoter”) who holds a valid Certificate of Eligibility issued by the
   4    California Department of Justice.
   5          46.    Gun show producers must also, among other things:
   6                 a.    Certify that they are familiar with all California laws regarding
   7                       gun shows, Cal. Penal Code § 27200;
   8                 b.    Possess a minimum of $1,000,000 liability insurance, id.;
   9                 c.    Provide an annual list of shows or events to be held to the
  10                       California Department of Justice, id.; and
  11                 d.    Notify the California Department of Justice no later than 30 days
  12                       prior to the gun show or event of any changes to the above, id.
  13                 e.    Make available to law enforcement a complete and accurate list
  14                       of all vendors that will participate in the show to sell, lease, or
  15                       transfer firearms. Cal. Penal Code § 27205.
  16          47.    Gun show producers must submit an annual event and security plan and
  17    schedule to the California Department of Justice and any local law enforcement
  18    agency. The plan must include:
  19                 a.    Type of show or event;
  20                 b.    Estimated number of vendors offering for sale or display
  21                       firearms;
  22                 c.    Estimated number of attendees;
  23                 d.    Number of entrances and exits at the event;
  24                 e.    Location, dates, and times of the event;
  25                 f.    Contact person and telephone number for both promoter and
  26                       facility;
  27                 g.    Number of sworn peace officers employed by the producer or
  28                       facility who will be present at the event;
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   1                   h.    Number of non-sworn security personnel employed by the
   2                         producer or the facility who will be present at the event; and
   3                   i.    Promoters must inform all prospective vendors of all California
   4                         laws regarding gun shows.
   5    Cal. Penal Code §§ 27210, 27215.
   6          48.      Gun show producers must also provide a list of all prospective vendors
   7    and designated firearm transfer agents who are licensed firearm dealers to the
   8    California Department of Justice no later than seven days before the event so that the
   9    Department of Justice may determine whether each vendor possesses a valid license
  10    and is thus eligible to participate in the event. Cal. Penal Code § 27220.
  11          49.      If a vendor is not approved by the California Department of Justice or
  12    fails to comply with all applicable California laws, they cannot participate in the gun
  13    show event. Cal. Penal Code § 27220.
  14          50.      If a gun show producer fails to inform all prospective vendors of
  15    California’s state laws or fails to submit a list of all prospective vendors to the
  16    California Department of Justice, the event cannot commence. Cal. Penal Code §
  17    27230.
  18          51.      Gun show producers must have written contracts with each vendor
  19    selling firearms at the event. Cal. Penal Code § 27235.
  20          52.      Gun show producers must post signs in a readily visible location at
  21    each public entrance to the event that includes all of the following notices:
  22                • “This gun show follows all federal, state, and local firearms and
  23                   weapons laws, without exception.”
  24                • “Any firearm carried onto the premises by any member of the public
  25                   will be checked, cleared of any ammunition, and secured in a manner
  26                   that prevents it from being operated, and an identification tag or sticker
  27                   will be attached to the firearm before the person is allowed admittance
  28                   to the show.”
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   1                 • “No member of the public under the age of 18 years shall be admitted
   2                    to the show unless accompanied by a parent, grandparent, or legal
   3                    guardian.”
   4                 • “All firearm transfers between private parties at the show shall be
   5                    conducted through a licensed dealer in accordance with applicable state
   6                    and federal laws.”
   7                 • “Persons possessing firearms in this facility must have in their
   8                    immediate possession government-issued photo identification and
   9                    display it upon the request to any security officer or any peace officer,
  10                    as defined in Section 830.”
  11    Cal. Penal Code § 27240(a).
  12           53.      Gun show producers must also post signs in a readily visible location at
  13    each entrance to the parking lot stating: “The transfer of firearms on the parking lot
  14    of this facility is a crime.” Cal. Penal Code § 27240(b).
  15           54.      A willful failure of a producer to comply with any of California’s
  16    applicable laws is a misdemeanor punishable with a fine of up to $2,000 dollars and
  17    would render the producer ineligible for a gun show producer license for up to one
  18    year, which could cost a producer hundreds of thousands of dollars in lost revenue
  19    for a willful infraction. Cal. Penal Code § 272459(c).
  20           55.      Except in very limited exceptions applicable only to law enforcement,
  21    actual firearm transfers are already prohibited from taking place at any gun show in
  22    California.4 The firearm sale can be started through an on-site licensed “transfer
  23    dealer,” but it cannot be completed on site. Instead, purchasers must pick up their
  24
  25       4
             Cal. Penal Code § 27310 (requiring all firearm transfers at gun shows to comply
        with state and federal law); id. § 26805 (prohibiting the sale and transfer of a firearm
  26    by a licensed dealer at any location other than the dealer’s premises as listed on their
        license but allowing dealer to prepare documents at a gun show in preparation for
  27    completion of the sale at the dealer’s premises); id. § 27545 (requiring all firearm
        transactions to be processed through a licensed dealer when neither party is a
  28    licensed firearm dealer).
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   1    purchase at a licensed firearm retailer at a different licensed location—but only after
   2    a 10-day waiting period and background check. There is no “Gun Show Loophole”
   3    at gun shows operated in accordance with California Law.
   4          56.    The Gun Show Act of 2000, California Penal Code sections 27200-
   5    27245, places even more restrictions on the operation of a gun show in California by
   6    requiring that:
   7                 a.    Vendors do not display, possess, or offer for sale any firearms,
   8                       knives, or weapons for which possession or sale is prohibited;
   9                 b.    Vendors acknowledge that they are responsible for knowing and
  10                       complying with all applicable federal, state, and local laws
  11                       dealing with the possession and transfer of firearms;
  12                 c.    Vendors will not engage in activities that incite or encourage hate
  13                       crimes;
  14                 d.    Vendors will process all transfers of firearms through licensed
  15                       firearms dealers as required by state law;
  16                 e.    Vendors will verify that all firearms in their possession will be
  17                       unloaded and that the firearms will be secured in a manner that
  18                       prevents them from being operated except for brief periods, when
  19                       the mechanical condition of the firearm is being demonstrated to
  20                       prospective buyer;
  21                 f.    Vendors provide all required information under Penal Code §
  22                       27320;
  23                 g.    Vendors will not display or possess black powder or offer it for
  24                       sale;
  25                 h.    Ammunition only be displayed in closed original factory boxes
  26                       or other closed containers, with the only exception for showing
  27                       the ammunition to a prospective buyer. On July 1, 2019,
  28                       additional state-law restrictions on the sale of ammunition will
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   1                        become effective and gun shows must comply;
   2                 i.     No member of the public under 18 years old may enter a gun
   3                        show unless accompanied by a parent or legal guardian;
   4                 j.     No person other than security personnel or law enforcement
   5                        possess both a firearm and ammunition for that firearm at the
   6                        same time, with the exception of vendors who are selling both.
   7          57.    Plaintiff Crossroads diligently operates all of its gun shows in
   8    accordance with state law, and it takes immediate remedial measures if irregularities
   9    are discovered.
  10          58.    Vendors at Crossroads gun shows are some of the same licensed
  11    vendors that have brick and mortar stores in the community or operate legally over
  12    the internet and are registered with the state as lawful businesses.
  13          59.    Vendors at Crossroads gun shows sell legal products and enjoy being
  14    able to attend gun shows so they can better interact with customers in a more
  15    meaningful and intimate way.
  16          60.    Even with all of the state and federal regulations that promoters and
  17    vendors must abide, through the adoption and enforcement of SB 264 and SB 915,
  18    Defendants now seek to wholly prohibit constitutionally protected, highly regulated,
  19    and otherwise perfectly legal activity.
  20                           [The Gun Show Cultural Experience]
  21          61.    Gun shows are a modern bazaar—a convention of like-minded
  22    individuals who meet in this unique public forum that has been set aside by state and
  23    local governments for all manner of commerce. This convention-like setting is of
  24    incalculable benefit to the gun-buying consumer and promotes public safety.
  25          62.    Gun shows, in general, and the Crossroads show at the Fairgrounds, in
  26    particular, are a celebration of America’s “gun culture” that is a natural and essential
  27    outgrowth of the constitutional rights that flow from the Second Amendment to the
  28    United States Constitution.
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   1          63.    Gun shows, in general, and the Crossroads show at the Fairgrounds, in
   2    particular, are a First Amendment forum where literature and information are
   3    shared, speakers provide valuable lectures, classes are conducted, political forums
   4    are held where gun rights discussions take place, and candidates for political office
   5    can meet to discuss political issues, the government, and the constitution with
   6    constituents who are part of the California gun culture.
   7          64.    Thousands of people attend gun shows on the weekends they are held at
   8    the Fairgrounds. Many attend as new gun owners seeking information and
   9    instruction. With over 1 million new gun owners in California in the past year, gun
  10    shows offer the opportunity for these new gun owners to learn about firearms,
  11    safety, and speak to expert firearm enthusiasts.
  12          65.    Gun shows place a huge emphasis on safety as citizens come together.
  13    Gun shows are designed to offer a communal atmosphere of like-minded people that
  14    one does not find in a store where people are running in to pick up one or two items.
  15    Gun shows are designed so that people will congregate, take their time, engage each
  16    other and the vendors, and learn in a way that they do not otherwise engage.
  17          66.    Gun shows also happen to include the exchange of products and ideas,
  18    knowledge, services, education, entertainment, and recreation related to the lawful
  19    uses of firearms. Those lawful uses include (but are not limited to): firearm safety
  20    training; defense of self and others; defense community, state, and nation; hunting;
  21    target shooting; gunsmithing; admiration of guns as art; appreciation of guns as
  22    technological artifacts; and the study of guns as historical objects.
  23          67.    Gun shows, in general, and the Crossroads show at the Fairgrounds, in
  24    particular, are cultural marketplaces for those members of the “gun culture” who
  25    attend to celebrate their constitutional rights and to pass their beliefs in patriotism
  26    and the rights of the individual on to the next generation. It is a place where parents
  27    take their children and grandparents take their grandchildren to share with them,
  28    among other things, a love of historic firearms, stories of American war heroes, and
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   1    their love of hunting.
   2          68.    Gun shows, in general, and the Crossroads show at the Fairgrounds, in
   3    particular, are places where parents can learn to protect their families and their
   4    homes, and how to stay in compliance with California’s ever-changing gun laws.
   5          69.    Gun shows, in general, and the Crossroads show at the Fairgrounds, in
   6    particular, are places where people can discuss the positions of political candidates
   7    and whether those values line up with their own beliefs in protecting the Second
   8    Amendment.
   9          70.    Gun shows, in general, and the Crossroads show at the Fairgrounds, in
  10    particular, are held and promoted, and considerable investment is made, precisely to
  11    promote and “normalize” the “gun culture” and the constitutional principles that gun
  12    show participants hold dear.
  13          71.    This forum is vitally important especially in California where
  14    government actors at all levels of government (federal, state, and local) are openly
  15    hostile to the cultural values of the Second Amendment and where supporters of
  16    those cultural values are not considered “mainstream.”
  17          72.    Participating in “gun culture” is an important reason people attend
  18    Crossroads gun shows as vendors, exhibitors, customers, and guests (even if
  19    particular vendors or attendees are not in the firearm business or in the market to
  20    buy a gun at a particular event).
  21          73.    While less than 40% of vendors at Crossroads’ events offer firearms or
  22    ammunition for sale (the remaining vendors offer accessories, collectibles, home
  23    goods, lifestyle products, educational information, food, and other refreshments), the
  24    principle draw of gun shows is the availability of firearms, ammunition, and firearm
  25    parts and accessories for sale, as well as the ability to handle and inspect firearms
  26    while in the presence of knowledgeable vendors.
  27          74.    Indeed, many people attend gun shows to learn about the technology
  28    and use of various firearms and ammunition when they are considering whether to
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   1    buy or sell a firearm and to exchange knowledge with experienced dealers and
   2    firearm enthusiasts that they cannot get anywhere else. Teixeira v. County of
   3    Alameda, No. 13-17132 (9th Cir. 2017).5
   4           75.   Without the ability to buy and sell firearms, ammunition, and parts at
   5    gun shows at the Fairgrounds, the events will no longer be able to draw many of its
   6    vendors and attendees, making the events unprofitable and economically infeasible.
   7    When events are no longer profitable, producers and vendors cannot afford to attend
   8    and host the shows or maintain the speech components of gun show.
   9           76.   The complete economic infeasibility of gun shows is a “feature” of SB
  10    264 and SB 915, not a “bug.” Indeed, Defendants wish to end this celebration of
  11    “gun culture” and Second Amendment rights because they do not understand the
  12    culture or the people. To that end, Defendants have attempted, through SB 264 and
  13    SB 915’s bans on sales of firearms, ammunition, and “firearm precursor parts” at the
  14    Fairgrounds, to permanently deprive Plaintiffs of their right to engage in
  15    constitutionally protected conduct at the Fairgrounds.
  16                        [The Orange County Fair & Event Center]
  17           77.   The Fairgrounds is owned by the state of California and managed by
  18    the Board of Directors of Defendant District, which must regularly report its
  19    activities to the California Department of Food & Agriculture.
  20           78.   Among other things, Defendant District is charged with maintaining the
  21    Fairgrounds and ensuring that is used for public purposes.
  22           79.   Defendant Ross, as the Secretary of the California Department of Food
  23    & Agriculture, oversees the operation of the various agricultural districts in the state,
  24    including Defendant District.
  25           80.   The California Department of Food & Agriculture, under Secretary
  26
           5
             The Teixeira court did not answer whether the Second Amendment includes a
  27    right to purchase a firearm. Plaintiffs allege, in good faith, that the right to keep and
        bear arms necessarily includes the rights to purchase and sell them. Indeed, those
  28    rights are a necessary predicate to the exercise of the Second Amendment.
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   1    Ross, provides policies and guidance for the operation of all agricultural districts in
   2    the state, including the use of facilities as directed by Department policy.
   3          81.    The California Department of Food & Agriculture maintains a CDFA
   4    Contracts Manual for Agricultural Districts (“Manual”). Section 6.25 of the Manual
   5    states that “[w]hether or not a fair rents out their facilities for gun shows is a policy
   6    decision to be made by the fair board and their community.” That said, Defendant
   7    Ross has used her position to influence fair boards’ decisions about renting their
   8    facilities for gun show events.
   9          82.    Similarly, Defendant Ross, as Secretary of the California Department of
  10    Food & Agriculture, prohibits the individual fair boards from taking any position on
  11    legislation that would effect the ability of fair boards to make decisions about the
  12    use of their facilities for gun shows, including SB 264 and SB 915 which restrict
  13    their ability to contract to hold events where firearms, ammunition, or precursor
  14    parts are sold.
  15          83.    The Fairgrounds is a state-owned property maintained and opened for
  16    use by the public. By virtue of being opened by the state for use by the public, it is a
  17    “public forum,” from which the government may not generally exclude expressive
  18    activity. Cinevision, 745 F.2d at 569 (quoting Perry Educ. Ass’n v. Perry Local
  19    Educators’ Assn, 460 U.S. 37, 45-46 (1983)).
  20          84.    The Fairgrounds is used by many different groups and is a major event
  21    venue for large gatherings of people to engage in expressive activities, including
  22    concerts, festivals, and industry shows. Indeed, “OC Fair & Event Center is a 150-
  23    acre event venue that hosts over 150 events and attracts approximately 4.3 million
  24    visitors annually. [Its] versatile multi-use property can be transformed to fit a variety
  25    of events from small private events to large-scale trade shows and festivals.” OC
  26    Fair & Event Center, Event Space Sales, https://ocfair.com/venue-rentals/venue-
  27    options/rental-property-brochure/ (last visited Aug. 4, 2022) (attached as Exhibit 1).
  28          85.    The Fairgrounds actively promotes the use of the property by the public
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   1    through contracting for available space at the Fairgrounds. Id.; see also OC Fair &
   2    Event Center, Venue Rentals, https://ocfair.com/venue-rentals/ (last visited Aug. 4,
   3    2022).
   4          86.    The Fairgrounds’ Board of Directors Governing Manual states that
   5    Defendant District’s purpose is “(1) to hold fairs, expositions and exhibitions in
   6    Orange County to exhibit the industries and industrial enterprises, resources, and
   7    products of every kind or nature of the state, with a view toward improving,
   8    exploiting, encouraging, and stimulating them; and (2) to construct, maintain, and
   9    operate recreational and cultural facilities of general public interest in Orange
  10    County.
  11          87.    Defendant District has adopted a mission statement to effectuate these
  12    purposes, which is the celebration of Orange County’s communities, interests,
  13    agriculture and heritage.” 32nd District Agricultural District, Board of Directors
  14    Governing Manual, Introduction at 1, available at https://s3.us-west-
  15    1.amazonaws.com/ocfair.com/wp-content/uploads/2021/02/02141413/Policy-
  16    Combo-All.pdf (last visited Aug. 4, 2022).
  17          88.    The Fairgrounds has held non-gun-show events in which criminal
  18    activity has taken place. These criminal incidents are no more likely to happen at a
  19    gun show than at other types of events, but the Defendants have not banned these
  20    promoters or their events.
  21                         [Contracting for Use of the Fairgrounds]
  22          89.    Defendant District has a process, as do most of the state’s fairgrounds,
  23    for securing returning contractors who would like to secure specific dates into future
  24    years before the contracts can be drafted and executed.
  25          90.    Each year, returning and regular contractors, including Plaintiff
  26    Crossroads, submit preferred dates for the next calendar year, so Defendant District
  27    can confirm availability and so that Plaintiff Crossroads can begin to reserve
  28    vendors and materials for the show weekends.
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   1          91.      Due to the size and extensive planning that goes into producing gun
   2    show events, Defendant District has—for decades—provided and held preferred
   3    dates for Plaintiff Crossroads, a long-time contractor, until the contracts can fully be
   4    executed.
   5          92.      Defendant District’s “hold” system essentially operates as a right of
   6    first refusal to the benefit of returning contractors. For example, if another contractor
   7    wanted the same preferred dates as Plaintiff Crossroads, Defendant District would
   8    not allow another vendor to come in and take those dates from Plaintiff Crossroads
   9    even though there is no official contract in place yet.
  10          93.      The “hold” system also provides Defendant District with the security of
  11    knowing its venue is booked with experienced and knowledgeable repeat contractors
  12    that have a demonstrated record of running safe and profitable events at the
  13    Fairgrounds.
  14          94.      The “hold” system also permits the promoter to spend advertising
  15    dollars to promote its events, but when governments announce plans to ban gun
  16    shows at particular venues, vendors and patrons rationally make plans to attend gun
  17    show events at other venues or seek other states to conduct their commerce.
  18          95.      Defendant District also considers the “hold” dates and shows during
  19    budget discussions which are typically held in the year before the contracts are
  20    commenced.
  21          96.      Upon information and belief, Plaintiffs allege that the “hold” system is
  22    widely used by similar state fair board venues and is standard industry practice.
  23     Plaintiff Crossroads, after doing business in this customary manner for more
  24     than 30 years, had no reason to doubt that Defendant District would continue
  25      to honor such relationship with Plaintiff Crossroads. [Ban on Gun Shows at
  26                         Other Fairgrounds & Resulting Litigation]
  27          97.      Despite the long history that Plaintiff Crossroads has had in California,
  28    operating safe and legal events, the political environment has become hostile toward
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   1    gun show events and (more generally) toward the “gun culture” in recent years.
   2          98.    Indeed, gun-show-banning activists are at work throughout the state
   3    and the country to ban all gun shows everywhere, not because they are “dangerous
   4    for the community,” but because they do not subscribe to the same values as gun
   5    show promoters, vendors, and participants.
   6          99.    With increasing regularity, the same activists are making appearances
   7    on Zoom board meetings held by fair boards across the state, and during each
   8    appearance, they make the same claims in order to shut down lawful gun shows.
   9          100. These activists rely on unfounded fears about the security of gun show
  10    events, false claims that gun shows are inherently dangerous because they normalize
  11    the “gun culture,” and peddle in false stereotypes about the people that attend gun
  12    shows. See City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432 (1985) (striking
  13    an ordinance requiring a special permit for a group home for the intellectually
  14    disabled and citing direct evidence of negative attitudes toward persons with
  15    disabilities expressed by community members and recorded in the legislative
  16    history).
  17          101. In 2017, gun-show-banning activists using the same tactics described
  18    above began pressuring the 22nd District Agricultural Association (“22nd DAA”),
  19    which manages the Del Mar Fairgrounds in San Diego, to prohibit gun show events
  20    at the Del Mar Fairgrounds. In response, the 22nd DAA began a series of meetings
  21    and comment periods to determine whether it would continue to contract with
  22    Plaintiff Crossroads or other gun show producers for the use of the Del Mar
  23    Fairgrounds to host gun show events.
  24          102. The 22nd DAA also engaged in communications with other
  25    government agencies and with Crossroads to determine whether gun shows at the
  26    Fairgrounds were operated in full compliance with state and federal law, and if the
  27    events pose any real danger to the community.
  28          103. On April 23, 2018, Defendant Newsom sent a letter to the 22nd DAA,
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   1    urging the Board to ban gun shows at the Fairgrounds, citing his concerns that
   2    “[p]ermitting the sale of firearms and ammunition on state-owned property only
   3    perpetuates America’s gun culture.” Letter from Governor Gavin Newsom to Board
   4    Members of 22nd District Agricultural Association (April 23, 2018) (attached as
   5    Exhibit 2).
   6          104. On September 10, 2018, Assemblymember Todd Gloria (D) sent a
   7    letter to the 22nd DAA, stating his “firm belief that the State of California should in
   8    no way help to facilitate the sale of firearms.” He also expressed his support for the
   9    22nd DAA “willingness to consider options for limiting or eliminating these gun
  10    shows” and vowed to “act by way of legislation should the 22nd DAA Board be
  11    unable to take meaningful action.” Letter from Assemblymember Todd Gloria to
  12    Board Members of 22nd District Agricultural Association (Sept. 10, 2018) (attached
  13    as Exhibit 3).
  14          105. At a public hearing on September 11, 2018, a fair board ad hoc
  15    “Contracts Committee” recommended that the 22nd DAA “not consider any
  16    contracts with the producers of gun shows beyond December 31st, 2018, until such
  17    time as the [22nd DAA] has put into place a more thorough policy regarding the
  18    conduct of gun shows.”
  19          106. In testimony before the 22nd DAA at the September 11, 2018 hearing,
  20    Patrick Kerins, who was then the Public Safety Director for the 22nd DAA, reported
  21    on the laws that apply to gun shows in California, as well as Plaintiff Crossroads
  22    history of events at the Fairgrounds.
  23          107. During his comments at the September 11, 2018 hearing, Mr. Kerins
  24    referenced a memorandum that he prepared for the 22nd DAA’s Board of Directors
  25    in 2016. In that memorandum, he reported that:
  26                 As Chief of Security for the 22nd DAA, I routinely inspect the
                gun show and on a regular basis communicate with the San Diego
  27            Sheriff’s Department re: compliance with all the applicable laws and
                regulations and the Security Plan required by the California
  28            Department of Justice Firearms Division. I recently spoke to
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   1            Detective Jaime Rodriguez of the Sheriff’s North Coastal Station
                who supervises the four Deputies assigned to the gun show security
   2            detail and Detective Stacey Smith who is assigned to the Sheriff’s
                Licensing Division. Both Detectives said the Crossroads of the West
   3            Gun Show is in complete compliance with all the local, State and
                Federal laws that govern gun shows and that there have not been any
   4            violations of law. Both Detectives had high praise for the show
                promoters and the 22 DAA staff.
   5
   6    Memorandum of Patrick Kerins, Public Safety Director, 22nd District Agricultural
   7    Association, to Board of Directors, 22nd District Agricultural Association, at 17
   8    (2016) (attached as Exhibit 4).
   9          108. Mr. Kerins’ 2016 memorandum continued:
  10            In my considered opinion, as Chief of Security for the 22 DAA for
                the last 17 years, the CROSSROADS OF THE WEST GUN
  11            SHOWS (5 per year) are in compliance with all the local, state and
                federal regulatory statutes and have operated without any violations
  12            of those laws Under the laws of the State of California you must
                comply with all the laws of purchasing, selling and/or transferring of
  13            firearms at a gun show as you would at licensed gun dealer’s store
                Due to the strict California gun show regulations there are no so
  14            called loop holes that you so often hear about in the media.
  15    Ex. 4 at 17.
  16          109. Ultimately, the lengthy process of meetings, public comment, and
  17    communications with stakeholders resulted in no finding that allowing the (already
  18    heavily regulated) gun show events to continue at the Del Mar Fairgrounds posed a
  19    definite or unique risk to public safety. Indeed, the 22nd DAA presented no
  20    evidence of any safety concerns within the community that could be linked to the
  21    over-30-year-old gun show at the Del Mar Fairgrounds.
  22          110. Nonetheless, relying on contrived possibilities of unknown dangers and
  23    unfounded claims that prohibiting gun shows might prevent suicide and violent
  24    crime because the “gun culture” would be censored, the 22nd DAA voted to impose
  25    a one-year moratorium on gun show events at the Del Mar Fairgrounds.
  26          111. Plaintiffs Crossroads, CRPA, SAF, and others sued the 22nd DAA,
  27    Defendant Ross, and others in federal court to enjoin the enforcement of the
  28    moratorium, alleging violations of various constitutional rights, including the rights
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   1    to free speech, assembly, and equal protection. See B&L Prods. v. 22nd Dist. Agric.
   2    Ass’n, 394 F. Supp. 3d 1226 (S.D. Cal. 2019) (“B&L I”) (attached as Exhibit 5).
   3          112. Denying the 22nd DAA’s motion to dismiss and granting plaintiffs a
   4    preliminary injunction—sua sponte—on the ground that plaintiffs were exceedingly
   5    likely to succeed on the merits of their constitutional claims, the court in B&L
   6    Productions temporarily enjoined the enforcement of the 22nd DAA’s gun show
   7    moratorium and ordered the 22nd DAA to contract with Crossroads as it would any
   8    other similar event promoter at the Fairgrounds. Id.
   9          113. Shortly thereafter, the B&L Productions plaintiffs negotiated a
  10    settlement with the 22nd DAA, represented by attorneys for the California
  11    Department of Justice, permanently terminating the gun show moratorium,
  12    reinstating Crossroads’ right to promote gun show events at the Fairgrounds, and
  13    permanently barring the 22nd DAA from unilaterally halting B&L’s gun show
  14    events at the Del mar Fairgrounds.
  15                         [California’s Assembly Bill 893 (Gloria)]
  16          114. Making good on previous threats, and fully aware of the court’s
  17    decision in B&L I, Assemblymember Gloria introduced Assembly Bill 893 (“AB
  18    893”) on or about February 20, 2019. Assem. Bill 893, 2019-2020 Reg. Sess. (Cal.
  19    2019) (attached as Exhibit 6).
  20          115. AB 893, which added section 4158 to the California Food &
  21    Agricultural Code, bars any “officer, employee, operator, lessee, or licensee of the
  22    [District]” from “contract[ing] for, authoriz[ing], or allow[ing] the sale of any
  23    firearm or ammunition on the property or in the buildings that comprise the Del Mar
  24    Fairgrounds.” Violation of the law is a misdemeanor. Id.
  25          116. AB 893 does not bar the possession of firearms or ammunition on the
  26    property or in the buildings that comprise the Del Mar Fairgrounds. Id.
  27          117. The text of AB 893 expressly identifies the ongoing presence at the Del
  28    Mar Fairgrounds of “marketplaces popularly known as ‘gun shows,’ at which
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   1    firearms and ammunition and other items are sold to the public approximately five
   2    times a year.” Id.
   3          118. AB 893 also clearly recognizes that “[p]romoters maintain relationships
   4    with a core group of vendors, some selling guns and some selling other
   5    merchandise, who travel as the schedule dictates from city to city and state to state
   6    and in the West, for example, many of the same vendors can be seen at Crossroads
   7    of the West Gun Shows from San Francisco, California, to Tucson, Arizona.” Id.
   8          119. AB 893 failed to identify, however, any real public safety or security
   9    concern specifically related to the existence of gun show events at the Fairgrounds.
  10          120. To be sure, AB 893 claims, without support, that “[g]un shows bring
  11    grave danger to a community” and that “dangerous incidents” have taken place at
  12    guns shows at the Fairgrounds, including “an official vendor accused of trafficking
  13    illegal firearms, sales of firearms to individuals registered in the Department of
  14    Justice Bureau of Firearms Armed Prohibited Persons System, and illegal
  15    importation of large-capacity magazines.” But AB 893 makes no effort to show that
  16    these incidents are any more likely to occur at gun shows in California, which are
  17    regulated at least as heavily as retailers operating out of brick-and-mortar stores.
  18          121. Instead, AB 893’s legislative history reveals only general concerns
  19    about gun violence occurring all over the country and legislators’ beliefs that the
  20    state should not profit from sales of firearms and ammunition. See Matthew
  21    Fleming, Assem. Comm. Pub. Safety, Bill Analysis Re: AB 893 (Gloria), 2019-2020
  22    Reg. Sess., at 3 (Cal. 2019) (attached as Exhibit 7).
  23          122. Indeed, AB 893 opens with a list of tragedies, including the horrific
  24    mass murders that took place at Columbine High School, Sandy Hook Elementary
  25    School, and Marjory Stoneman Douglas High School—none of which were carried
  26    out with firearms traced to gun show events at the Fairgrounds. Ex. 6.
  27          123. What’s more, a March 26, 2019, analysis of AB 893 presented to the
  28    Assembly Committee on Public Safety quoted claims by Assemblymember Gloria,
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   1    the bill’s sponsor, that “[t]here is an ever-apparent link between the gun violence we
   2    see virtually every week and the number of guns in our communities.” These
   3    statements, however, made no attempt to link gun violence to gun shows, generally,
   4    or to gun shows at the Fairgrounds, specifically. Ex. 7 at 2.
   5          124. The Public Safety Committee’s March 26, 2019, analysis also quoted
   6    Gloria as lamenting that “the State of California should not be profiting or
   7    benefitting from the sale of firearms.” He continued, “[f]undamentally, I believe it is
   8    wrong for the state of California to profit or to benefit from the sale of firearms and
   9    ammunition.” Ex. 7 at 2.
  10          125. The Public Safety Committee’s March 26, 2019, analysis also cited a
  11    decade-old report from the Violence Prevention Research Program (VPRP) at the
  12    UC Davis School of Medicine, identifying gun shows as a source of illegally
  13    trafficked firearms. Ex. 7 at 3.
  14          126. But neither the VPRP report nor AB 893’s legislative history links any
  15    illegally trafficked firearm or gun used in crime to gun shows at the Del Mar
  16    Fairgrounds (or even to gun shows in California). See Garen Wintemute, MD, Inside
  17    Gun Shows: What Goes on When Everybody Thinks Nobody’s Watching, ch. 1
  18    (2009) (attached as Exhibit 8). This is unsurprising because, as the study states,
  19    “[m]uch of the concern about gun shows as a source of crime guns focuses on
  20    private party gun sales, since no background checks are conducted and no records
  21    are kept.” Id. at 32. But such concerns are simply irrelevant in California where
  22    private party transfers—even those initiated at gun shows—must be processed by a
  23    licensed firearm dealer and are subject to background checks, 10-day waiting
  24    periods, and registration under state law.
  25          127. The VPRP report cited by the Public Safety Committee’s analysis of
  26    AB 893 also attempts to implicate licensed firearm retailers operating at gun shows
  27    as sources of crime guns in America, claiming that “30% of dealers with gun show
  28    sales, but 22% of all dealers, had previously had a crime gun traced to them.” But it
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   1    expressly recognizes that “in California, where both gun shows themselves and gun
   2    commerce generally are regulated, sales at gun shows are not a risk factor among
   3    licensed retailers for disproportionate sales of crime guns.” Ex. 8 at 33 (emphasis
   4    added).
   5          128. The Public Safety Committee’s March 26, 2019, analysis also cited a
   6    report from the Government Accountability Office, claiming that a GAO report
   7    “regarding gun trafficking to Mexico confirmed that many traffickers buy guns at
   8    gun shows.” Ex. 7 at 3. But again, neither the BATFE report nor AB 893’s
   9    legislative history links any illegally trafficked firearm to gun shows at the Del Mar
  10    Fairgrounds (or even to gun shows in California). See U.S. Gov’t Accountability
  11    Off., GAO-16-223, Firearms Trafficking: U.S. Efforts to Combat Firearms
  12    Trafficking to Mexico Have Improved, but Some Collaboration Challenges Remain
  13    (2016) (attached as Exhibit 9). To be sure, the GAO report identifies U.S. Southwest
  14    border states, including Texas (41%), California (19%), and Arizona (15%), as the
  15    largest sources of firearms illegally trafficked into Mexico from the United States.
  16    Ex. 9 at 14. But it does not trace these illegally trafficked guns to licensed dealers,
  17    generally, or to those operating at gun shows, specifically. Rather, it says only that
  18    “there were about 10,134 licensed dealers and pawnbrokers in the four Southwest
  19    border states, many of them along the border,” and that “these licensed dealers and
  20    pawnbrokers can operate in locations such as gun shops, pawn shops, their own
  21    homes, or gun shows.” Id.
  22          129. The Public Safety Committee’s March 26, 2019, analysis did concede
  23    that “less than one percent of inmates incarcerated in state prisons for gun crimes
  24    acquired their firearms at a gun show”—though it transparently tries to diminish that
  25    fact by citing only a website of the National Rifle Association as the source of the
  26    statistic, instead of the U.S. Department of Justice, Bureau of Justice Statistics
  27    reports from which the NRA drew it. Ex. 7 at 2-3 (citing NRA-ILA, Background
  28    Checks|NICS, https://www.nraila.org/get-the-facts/background-checks-nics (last
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   1    visited Sept. 29, 2021)); but see Caroline Wolf Harlow, Ph.D., Bureau of Justice
   2    Statistics, Firearm Use by Offenders (Nov. 2001) attached as Exhibit 10.
   3          130. While the Public Safety Committee’s March 26, 2019, analysis also
   4    concedes that “violent criminals do not appear to regularly purchase their guns
   5    directly from gun shows,” the analysis immediately shifts to “criticism” (from the
   6    partisan Center for American Progress) that gun shows are somehow “the critical
   7    moment in the chain of custody for many guns, the point at which they move from
   8    the somewhat-regulated legal market to the shadowy, no-questions-asked illegal
   9    market.” Ex. 7 at 3 (citing Arkadi Gerney, Center for American Progress, The Gun
  10    Debate 1 Year After Newtown: Assessing Six Key Claims About Gun Background
  11    Checks (Dec. 2013), available at https://www.americanprogress.org/issues/guns-
  12    crime/reports/2013/12/13/80795/the-gun-debate-1-year-after-newtown/ (last visited
  13    Sept. 29. 2021). Neither the Center for American Progress editorial nor AB 893’s
  14    bill analysis show how, in California where sales at gun shows are regulated at least
  15    as heavily as sales at brick-and-mortar retailers, guns originating at gun shows are
  16    any more likely to enter the “shadowy, no-questions-asked illegal market” than
  17    those sold at gun stores.
  18                            [California’s Senate Bill 264 (Min)]
  19          131. Not to be outdone and following the encouragement from both
  20    Defendant Newsom and Assemblymember Gloria, Senator Dave Min sought early
  21    on to rid the state of gun shows on all state fairground properties. Indeed, Senator
  22    Min promised “in my first 100 days in office, I promise to author legislation for a
  23    ban on these gun shows at the OC Fair and Events Center once and for all.”
  24    Anthony Pignataro, SD-37 Candidate Min: Ban Gun Shows from OC Fair & Event
  25    Center, OC Weekly (Aug. 6, 2019), https://www.ocweekly.com/sd-37-candidate-
  26    min-ban-gun-shows-from-oc-fair-event-center/ (emphasis added). And he called on
  27    the “governing board of the OC Fair to end its contract with Crossroads of the West
  28    and other gun show marketers.” Id.
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   1          132. In response, Board Member Ashleigh Aitken, advocating for the known
   2    safety of the Fairgrounds, noted that “[t]he gun show loophole does not exist in
   3    California. No citizen can purchase a firearm at the gun show and walk off property
   4    with it. The purchases are subject to the same background checks and waiting
   5    periods as any other store purchase.” Aitken went on to note that “California’s legal
   6    gun shows are not a priority as our state has the strictest gun laws in the country.”
   7    Anthony Pignataro, OC Fair Board Member Responds to Min’s Gun Show Ban Idea
   8    (Aug. 7, 2019), available at https://www.ocweekly.com/oc-fair-board-member-
   9    responds-to-mins-gun-show-ban-idea/.
  10          133. Nevertheless, Senator Min introduced Senate Bill 264 (“SB 264”) on
  11    January 27, 2021. Sen. B. 264, 2019-2020Reg. Sess. (Cal. 2020) (attached as Exhibit
  12    11). SB 264, which added section 27575 to the California Penal Code, bars any
  13    “officer, employee, operator, lessee, or licensee of the [District]” from “contract[ing]
  14    for, authoriz[ing], or allow[ing] the sale of any firearm, firearm precursor part, or
  15    ammunition on the property or in the buildings that comprise the OC Fair and
  16    Events Center.” Violation of the law is a misdemeanor. Id.
  17          134. SB 264 does not bar the possession of firearms, ammunition, or firearm
  18    precursor parts on the property or in the buildings that comprise the Orange County
  19    Fairgrounds. Ex. 10. And it provides exceptions for (1) gun buyback events held by
  20    law enforcement, (2) the sale of a firearm by a public administrator, public
  21    conservator, or public guardian in the course of their duties, (3) the sale of a firearm,
  22    firearm precursor part, or ammunition on state property that occurs pursuant to a
  23    contract that was entered into before January 1, 2022, and (4) the purchase of
  24    ammunition on state property by a law enforcement agency in the course of its
  25    regular duties. Id.
  26          135. Like AB 893, SB 264 clearly recognizes that “[p]romoters maintain
  27    relationships with a core group of vendors, some selling guns and some selling other
  28    merchandise, who travel as the schedule dictates from city to city and state to state
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   1    and in the West, for example, many of the same vendors can be seen at Crossroads
   2    of the West Gun Shows from San Francisco, California, to Tucson, Arizona.” Id.
   3          136. SB 264 failed to identify, however, any real public safety or security
   4    concern specifically related to the existence of gun show events at the Fairgrounds.
   5    Indeed, without citing specific safety concerns related to the Orange County
   6    Fairgrounds, the authors of SB 264 literally copied and pasted the same vague
   7    “security concerns” related to the Del Mar Fairgrounds from the language of AB
   8    893 to label the Orange County events a threat to the local community. Id.
   9          137. To be sure, SB 264 claims that “[g]un shows bring grave danger to a
  10    community” and that “dangerous incidents” have taken place at guns shows at the
  11    Fairgrounds, including “an official vendor accused of trafficking illegal firearms,
  12    sales of firearms to individuals registered in the Department of Justice Bureau of
  13    Firearms Armed Prohibited Persons System, and illegal importation of large-
  14    capacity magazines.” Id. But SB 264 makes no effort to show that these incidents
  15    are any more likely to occur at the Orange County gun show or gun shows in
  16    California in general, which are regulated at least as heavily as retailers operating
  17    out of brick-and-mortar stores. What’s more, these incidents are identical to the
  18    crimes alleged to have taken place at the Del Mar Fairgrounds—an odd coincidence
  19    to be sure.
  20          138. Instead, SB 264’s legislative history reveals only general concerns
  21    about gun violence occurring all over the country, unrelated to California gun
  22    shows, and legislators’ beliefs that the state should not profit from sales of firearms
  23    and ammunition.
  24          139. Indeed, SB 264 opens with a list of tragedies, including the horrific
  25    mass murders that took place at Columbine High School, Sandy Hook Elementary
  26    School, and Marjory Stoneman Douglas High School—none of which were carried
  27    out with firearms traced to gun show events at the Fairgrounds. Id.
  28          140. The Senate Committee on Public Safety’s March 15, 2021, analysis
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   1    cited a report from the Government Accountability Office, claiming that a GAO
   2    report “regarding gun trafficking to Mexico confirmed that many traffickers buy
   3    guns at gun shows.” Sen. Comm. Pub. Safety, Bill Analysis Re: SB 264 (Min),
   4    2019-2020 Reg. Sess., at 4 (Cal. 2021) (attached as Exhibit 12). But again, neither
   5    the BATFE report nor SB 264’s legislative history links any illegally trafficked
   6    firearm to gun shows at the Fairgrounds (or even to gun shows in California). See
   7    Ex. 9.
   8             141. In comments to the Senate Public Safety Committee on March 16,
   9    2021, Senator Min claimed that “SB 264 will ensure that the state is not profiting
  10    from the sale of firearms and ammunition on state property or facilitating gun shows
  11    that would undermine California’s strong firearm regulations.” Sen. Pub. Safety
  12    Committee Hrg., Mar. 16, 2021, at 3:20:18, available at
  13    https://www.senate.ca.gov/media-archive/default?title=Public+Safety&startdate=
  14    03%2F16%2F2021&enddate=03%2F17%2F2021 (last accessed Aug. 4, 2022).
  15             142. In his remarks to the Senate Public Safety Committee, Senator Min
  16    claimed that the carnival-like atmosphere of gun shows lends itself to “lots of gun
  17    sales in the parking lot or by Venmo where the gun is delivered later.” No data was
  18    presented to support these claims even when asked by Senator Bogh. Senator Min
  19    ultimately conceded that he does not know how many firearms from gun shows
  20    actually move into the stream of illegal commerce. Id. at 4:05:36. He went on to
  21    state that even if there have zero unlawful acts at guns shows, “there is a principal
  22    that taxpayers should not be utilized, and taxpayer venues should not be utilized to
  23    promulgate the distribution of more guns in our communities.” Id. at 4:09:40.
  24             143. Senator Min’s closing remarks to the Senate Public Safety Committee
  25    recognized that SB 264 is “symbolic” and makes a statement that the state does not
  26    want to give an endorsement of “our taxpayer venues being used to sell more guns
  27    in our communities. Id. at 4:12:59.
  28             144. Similarly, in his remarks to the Assembly Committee on Public Safety
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   1    on July 13, 2021, Senator Min said that ending gun shows and banning the sale of
   2    firearms, ammunition, and precursor parts at state-owned properties is a value
   3    statement that the state of California must make. See Assem. Pub. Safety Committee
   4    Hrg., Mar. 16, 2021, at 4:01:22, available at
   5    https://www.assembly.ca.gov/media/assembly-public-safety-committee-
   6    20210713/video (last accessed Aug. 4, 2022). “Value statements” are made about
   7    likes and dislikes, not about issues of public safety. Min’s candid remarks about the
   8    intention of SB 264 clearly illustrate a commitment to end gun shows not for safety
   9    reasons, but to restrict the lawful speech and activities of a culture that he does not
  10    understand and does not support.
  11                            [California’s Senate Bill 915 (Min)]
  12          145. Having failed in 2021 to made good on his campaign promise to pass
  13    legislation that would ban gun shows from all state property, an undeterred Senator
  14    Min introduced Senate Bill 915 (“SB 915”) on February 2, 2022. Sen. B. 915, 2021-
  15    2022 Reg. Sess. (Cal. 2022) (attached as Exhibit 15).
  16          146. SB 915, which added section 27573 to the California Penal Code, bars
  17    any “state officer or employee, or operator, lessee, or licensee of any state property”
  18    from “contract[ing] for, authoriz[ing], or allow[ing] the sale of any firearm, firearm
  19    precursor part, or ammunition on state property or in the buildings that sit on state
  20    property or property otherwise owned, leased, occupied, or operated by the state.”
  21    Id.
  22          147. Just like SB 264, Min’s SB 915 does not bar the possession of firearms,
  23    ammunition, or firearm precursor parts on state property or in the buildings that sit
  24    on that property. Id. And it provides exceptions for (1) gun buyback events held by
  25    law enforcement, (2) the sale of a firearm by a public administrator, public
  26    conservator, or public guardian in the course of their duties, (3) the sale of a firearm,
  27    firearm precursor part, or ammunition on state property that occurs pursuant to a
  28    contract that was entered into before January 1, 2023, (4) the purchase of
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   1    ammunition on state property by a law enforcement agency in the course of its
   2    regular duties, and (5) sale or purchase of a firearm pursuant to subdivision (b) or (c)
   3    of Section 10334 of the Public Contract Code. Id.
   4          148. SB 915 takes effect on January 1, 2023, but officials have already
   5    stopped entering into contracts with gun show promoters, like Plaintiff Crossroads,
   6    for events in 2022 and beyond. And while there is an exemption allowing events to
   7    take place if contracts for those events were entered into before January 1, 2023, it
   8    has not been the practice of state venues to grant these contracts for gun show events
   9    in anticipation of the law’s effective date.
  10          149. The bill’s purpose was—and its actual effect is—to banish gun shows
  11    from state-owned properties—properties that are otherwise open to the public for
  12    gathering and expressive activities—throughout California. Indeed, Senator Min, the
  13    author of SB 915, has made very clear that banning the events was the bill’s intent:
  14    “Last year we laid the foundation for this moment with a ban on gun shows at the
  15    Orange County Fairgrounds. Today, I am proud to announce that California will
  16    become the first nation to enact a total ban statewide.” Press Release, California
  17    Becomes the First State to Ban Gun Shows on State Property, Builds on Orange
  18    County Fairgrounds Ban (July 21, 2022), available at
  19    https://sd37.senate.ca.gov/news/california-becomes-first-state-ban-gun-shows-state-
  20    property-builds-orange-county-fairgrounds (last accessed Nov. 7, 2022).
  21          150. Notably, SB 915 identifies no real public safety concern related to the
  22    existence of gun show events at any of the state venues in California. To the
  23    contrary, when giving testimony about SB 915, Senator Min only noted issues with
  24    criminal activity from outside of California.
  25          151. Instead, SB 915’s legislative history reveals only general concerns
  26    about gun violence occurring all over the country, unrelated to California gun
  27    shows, and legislators’ beliefs that the state should not profit from sales of firearms
  28    and ammunition.
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   1          152. In describing the need for the bill, the legislative history of SB 915 cites
   2    little more than a 1999 BATFE report that identified “gun shows as a ‘major
   3    trafficking channel’” and found “that gun shows were the second largest source of
   4    illegally trafficked firearms.” See Sen. Comm. Pub. Safety, Bill Analysis Re: SB
   5    915 (Min), 2021-2022 Reg. Sess., at 3 (Cal. 2022) (attached as Exhibit 16). Setting
   6    aside the fact that the report is nearly a quarter-of-a-century old, the legislature made
   7    no effort to link such concerns to gun shows in California, where state law governs
   8    sales at gun shows at least as strictly as it governs sales at “brick-and-mortar” stores.
   9    Nor did it make any effort to show that gun shows remain “the second largest source
  10    of illegally trafficked firearms” 23 years after the BATFE report published its
  11    findings.
  12         [The Impact of SB 264 and SB 915 on the Orange County Gun Show]
  13          153. The sale of firearms and ammunition is an essential function of gun
  14    shows, and it is one of the main reasons people attend these events; if gun shows are
  15    not economically viable because they have been stripped of an essential function,
  16    they will cease to exist.
  17          154. SB 264 and SB 915 thus have the same practical effect as Del Mar’s
  18    unconstitutional gun show moratorium which was enjoined by federal court—that is,
  19    by permanently banning the commercial sale of firearms, ammunition, and firearm
  20    parts at the Fairgrounds, it has the effect of banning gun shows at the Fairgrounds.
  21          155. The Legislature was well-aware when it passed SB 264 and SB 915 that
  22    a “gunless” gun show would not survive financially. Indeed, the intended purpose of
  23    SB 264 and SB 915 was to end gun shows at the Fairgrounds as noted by bill
  24    sponsor Senator Min in numerous committee testimonies and public comments.
  25          156. The July 12, 2021, Assembly Committee on Public Safety’s bill
  26    analysis references other similar legislative attempts to ban gun shows on state
  27    agricultural land. Assem. Comm. Pub. Safety, Bill Analysis Re: SB 264 (Min),
  28    2021-2022 Reg. Sess., at 3 (Cal. 2021) (attached as Exhibit 13). The analysis notes
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   1    that:
                AB 893 (Gloria) Chapter 731, Statutes of 2019, added a section to the
   2            Food and Agricultural Code that prohibits the sale of firearms and
                ammunition at the Del Mar Fairgrounds, effectively terminating the
   3            possibility for future gun shows at the Del Mar Fairgrounds. AB 893
                was signed into law by Governor Newsom. This bill would expand the
   4            provisions of AB 893 by including all state property within the6
                prohibition on the sale or transfer of firearms and ammunition.
   5
   6            157. Senator Min knew that the intended and practical effect of SB 264 (and
   7    later SB 915) was to end gun shows. His official Senate press release notes that “[i]f
   8    signed into law, SB 264 would effectively put a stop to most gun shows on county
   9    fairgrounds. Press Release, Senator Dave Min’s Gun Violence Prevention Bill
  10    Advances from Assembly Public Safety Committee (July 13, 2021), available at
  11    https://sd37.senate.ca.gov/news/senator-dave-mins-gun-violence-prevention-bill-
  12    advances-assembly-public-safety-committee (last accessed Aug. 4, 2022).
  13            158. On July 21, 2022, Senator Min reiterated the intent of his gun show
  14    bills: “Last year we laid the foundation for this moment with a ban on gun shows at
  15    the Orange County Fairgrounds. Today I am proud to announce that California will
  16    become the first in the nation to enact a total ban statewide.” Press Release, Senator
  17    Dave Min’s California Becomes the First State To Ban Gun Shows on State
  18    Property, Builds on Orange County Fairgrounds Ban (July 21, 2022), available at
  19    https://sd37.senate.ca.gov/news/california-becomes-first-state-ban-gun-shows-state-
  20    property-builds-orange-county-fairgrounds (last accessed Nov. 7, 2022).
  21            159. And further evidencing the Legislature’s intended effect of SB 264 and
  22    SB 915, Senator Min wrote to Defendant District, warning members not to stand in
  23    the way of his bill that would ban sales of firearms, ammunition, and firearm
  24    precursor parts at the Fairgrounds. Letter from Senator Dave Min to Board Members
  25    of 32nd District Agricultural Association (on or about September 13, 2021)
  26
           6
             SB 264 was initially introduced as a bill to end sales of firearms, ammunition,
  27    and firearm precursor parts on all state-owned property. But Min failed to garner
        enough support for such a ban and agreed to limit the scope of SB 264 to the OC
  28    Fair & Event Center.
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   1    (attached as Exhibit 14).
   2          160. In his letter dated on or about September 13, 2021, letter, Min
   3    addressed the District’s concerns that its venue was being unfairly and exclusively
   4    targeted, responding that SB 264 was no different from earlier attempts to ban gun
   5    shows at a single fairground:
   6
                While Item 6A expresses a concern that SB 264 “exclusively targets
   7            the 32nd DAA,” such action to ban gun shows at a single fairground
                site has recent precedent. In 2019, Gov. Newsom signed Assembly
   8            Bill 893 (Gloria) into law, ending the sale of firearms and
                ammunition at the Del Mar Fairgrounds, operated by the 22nd
   9            District Agricultural Association.
  10    Id. (emphasis added).
  11          161. In that same letter, Senator Min also threatened the District’s board
  12    members with individual liability lawsuits should they move to approve contracts
  13    for the gun shows even before Governor Newsom had signed SB 264 into law. Id.
  14          162. Nonetheless, Plaintiff Crossroads has repeatedly reached out to
  15    Defendant District to request dates for events at the Fairground in 2021, 2022, and
  16    beyond. But Defendant District refused to place the contracts for gun shows on the
  17    agenda for October, November, or December 2021, stating instead that they would
  18    revisit the issue again in January 2022 after SB 264 would go into effect.
  19          163. Defendant District’s refusal to enter into contracts with Plaintiff
  20    Crossroads before the implementation of AB 264 and SB 915 may have satisfied
  21    Senator Min’s threats towards individual board members, but in doing so, the
  22    District failed in their duty to bring profitable and family-friendly events to the
  23    Fairgrounds and caused great losses to Plaintiffs.
  24          164. Plaintiff Crossroads was unable to secure dates and enter into new
  25    contracts for events at the Fairgrounds in 2022 and beyond due to the Defendants’
  26    intentional act of adopting and enforcing SB 264 and refusing to consider their
  27    contracts in the same way they would any other member of the public seeking to
  28    rent the Fairgrounds venue.
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                                    FIRST AMENDED COMPLAINT
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   1          165. Indeed, in compliance with SB 264 and SB 915, Defendant District
   2    cannot and will not enter into contracts for gun shows at the Fairgrounds if firearms,
   3    ammunition, or firearm precursor parts will be sold during the shows.
   4          166. Even though Plaintiff Crossroads has offered to attempt to hold events
   5    without sales of firearms, ammunition, or firearm precursor parts to preserve its
   6    longstanding relationship with the District, mitigate damages, and continue planning
   7    and promoting its family-friendly events until its claims can be heard, Defendant
   8    District dragged its feet and refused to provide dates for events for 2022 and beyond.
   9    Plaintiffs are also unable to enter into new contracts for shows at other state venues
  10    before the implementation of SB 915 because those venues also refuse to provide
  11    dates before January 1, 2023.
  12          167. Because of the time and resources needed to plan and implement its
  13    gun show events, Plaintiff Crossroads must plan its shows about one year in
  14    advance, but Defendant District has not allowed Plaintiff Crossroads to secure dates
  15    in 2023 either.
  16          168. What’s more, Defendant District seems to have stripped Plaintiff
  17    Crossroads of its effective right of first refusal under the District’s “hold” system
  18    described above. Indeed, it failed to give Crossroads first (or any) choice of its dates
  19    in 2021 or 2022.
  20          169. Defendants’ adoption and enforcement of SB 264 and SB 915, which
  21    have the intended and practical effect of banning gun shows at the Fairgrounds and
  22    other state fairgrounds, has caused and will continue to cause Plaintiff Crossroads
  23    significant economic damages, including loss of event revenue, breakdown of
  24    relationships and agreements with long-time event vendors and companies used as
  25    suppliers for gun show events, relinquishment of future show dates, and loss of
  26    business reputation and goodwill that has been built by Plaintiff Crossroads for more
  27    than 30 years.
  28          170. Plaintiff Crossroads has already lost revenue for gun show events at the
                                                45
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   1    Fairgrounds in December 2021 and all of 2022 because Defendant District will not
   2    finalize event dates, citing SB 264 as the reason along with the threats from Senator
   3    Min for personal liability should they act. If shows do not return to the Fairgrounds
   4    in 2022, Plaintiff Crossroads will lose all revenue for gun show events at the
   5    Fairgrounds in 2022 and possibly 2023 because of the amount of time it takes to
   6    plan large-scale events like the gun shows.
   7          171. Even if Plaintiff Crossroads could secure dates, plan, promote, and host
   8    gun shows in 2022 or 2023, SB 264 and SB 915 stand in the way of Crossroads
   9    generating the profits the events typically generate because the ban on firearm and
  10    ammunition sales will significantly impact paid event attendance and the types and
  11    numbers of paid vendors who will do business with Crossroads at the Orange
  12    County gun show.
  13          172. Plaintiff Crossroads has and will continue to suffer loss of business
  14    goodwill resulting from Defendants’ adoption and enforcement of SB 264 and SB
  15    915 under the (unsupported) pretense that gun shows, generally, and Crossroads’
  16    shows, in particular, threaten public safety. The message this sends to other venues,
  17    attendees, and vendors that do business with Crossroads will no doubt affect
  18    Crossroads for years.
  19          173. Defendants’ adoption and enforcement of SB 264 and SB 915, which
  20    have the intended and practical effect of banning gun shows at the Fairgrounds and
  21    other state fairgrounds, prohibits Plaintiffs and all those similarly situated from
  22    making use of a state-owned “public assembly facility” to host gun show events, a
  23    lawful business activity, in violation of Plaintiffs’ rights to engage in free speech and
  24    peaceful assembly, and their right to equal protection under the law.
  25          174. Specifically, Defendants’ conduct complained of here strips Plaintiffs
  26    Clark, Johnson, Littrell, and Merson, as well as the organizational plaintiffs, CRPA,
  27    APAGOA, 2ALC, and SAF, of a vital opportunity to assemble and engage in pure
  28    speech about, among other things, the rights and responsibilities of gun owners, the
                                                 46
                               FIRST AMENDED COMPLAINT
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   1    Second Amendment, patriotism, and political activism with like-minded individuals.
   2          175. Defendants’ conduct complained of here also strips Plaintiff Crossroads
   3    of the right to promote gun show events, acting as a “clearinghouse” for both
   4    political speech and commercial speech.
   5          176. Defendants’ conduct complained of here also strips Plaintiffs Littrell,
   6    and Merson, of a vital opportunity to assemble and engage in lawful commercial
   7    speech, including the offer and acceptance of sales of firearms, ammunition, and
   8    related accessories.
   9          177. Furthermore, even if the Court grants injunctive relief, Plaintiff
  10    Crossroads will have incurred damages in having to devote extraordinary advertising
  11    dollars to inform the public that gun shows will continue to be held and have not
  12    been banned at the Fairgrounds.
  13          178. The economic and non-economic harms and injuries to Plaintiffs are of
  14    a continuing nature; they continue to compound everyday SB 264 and SB 915
  15    remain the law.
  16
  17                                FIRST CAUSE OF ACTION
                 Violation of Right to Free Speech Under U.S. Const., amend. I
  18                                      42 U.S.C. § 1983
           (By Plaintiffs Clark, Johnson, Littrell, Merson, CRPA, APAGOA, 2ALC, SAF
  19                                   Against All Defendants)
  20          179. Plaintiffs incorporate by reference paragraphs 1 through 178 of this
  21    Complaint as though fully set forth herein in their entirety.
  22          180. The state of California owns the Fairgrounds, a public venue. It is
  23    rented to the public, including community-based organizations and businesses, for
  24    its use and enjoyment, including for concerts, festivals, and industry shows.
  25          181. Plaintiffs Clark, Johnson, Littrell, Merson, CRPA, APAGOA, 2ALC,
  26    and SAF have attended in the past and wish to again attend Crossroads gun shows at
  27    the Fairgrounds so they may exchange ideas, information, and knowledge, as well
  28    discuss political issues and the importance of protecting and defending the Second
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                                   FIRST AMENDED COMPLAINT
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   1    Amendment.
   2          182. Plaintiffs Clark, Johnson, Littrell, Merson, CRPA, APAGOA, 2ALC,
   3    and SAF have a right under the First Amendment to use the Fairgrounds for their
   4    expressive activity on the same basis as other members of the public without regard
   5    to the viewpoints they seek to express.
   6          183. Defendants Newsom, Bonta, and Spitzer, acting under color of state
   7    law, are the state and local actors responsible for enforcing SB 264 and SB 915,
   8    which deprive Plaintiffs of free speech rights secured by the First Amendment of the
   9    United States Constitution in violation of 42 U.S.C. § 1983.
  10          184. Defendants Ross and District interpret, implement, and enforce state
  11    laws and policies in regard to the Fairgrounds, including SB 264 and SB 915, which
  12    deprive Plaintiffs of free speech rights secured by the First Amendment of the
  13    United States Constitution in violation of 42 U.S.C. § 1983.
  14          185. Defendants’ enforcement of SB 264 and SB 915, which prohibit the
  15    sale of firearms, ammunition, and “firearm precursor parts” at the Fairgrounds with
  16    the purpose, intention, and effect of banning gun show events at the Fairgrounds and
  17    all other state-owned properties, is an impermissible content-based restriction of
  18    speech. Such enforcement constitutes a direct violation of the free speech rights of
  19    Plaintiffs Clark, Johnson, Littrell, Merson, CRPA, APAGOA, 2ALC, and SAF.
  20          186. Defendants have no compelling (or even legitimate) governmental
  21    interest in banning the otherwise lawful (and constitutionally protected) sale of
  22    lawful firearms, ammunition, and “firearm precursor parts” at the Fairgrounds and
  23    all other state-owned properties, or in banning gun show events and the unique
  24    expression and exchange of ideas related to promoting and preserving the “gun
  25    culture” that takes place at those events. Any purported interest in “public safety” is
  26    betrayed by the fact that SB 264 and SB 915 do not ban the possession of firearms,
  27    ammunition, or firearms precursor parts on Fairgrounds property and state law
  28    already governs sales at gun shows at least as strictly as it governs sales at “brick-
                                                 48
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   1    and-mortar” stores.
   2          187. Further, SB 264 and SB 915 are neither narrowly tailored to nor the
   3    least restrictive means of achieving the state’s dubious interests. Indeed, by
   4    intentionally and effectively banning gun shows at the Fairgrounds and all other
   5    state-owned properties, it sweeps up all forms of speech and expressive conduct that
   6    occurs at such events and banishes it from a public venue.
   7          188. Similarly, SB 264 and SB 915 are unconstitutionally overbroad
   8    because, in an effort to restrict the commercial sale of firearms, ammunition, and
   9    firearm precursor parts, the laws effectively and intentionally ban gun shows events
  10    altogether, seriously and deliberately burdening a vast amount of speech that does
  11    not constitute commercial speech and is fully protected by the First Amendment.
  12          189.    As a direct and proximate result of Defendants’ conduct, Plaintiffs
  13    Clark, Johnson, Littrell, Merson, CRPA, APAGOA, 2ALC, and SAF have suffered
  14    irreparable harm, including the violation of their constitutional right to free speech,
  15    entitling them to declaratory and injunctive relief. Absent intervention by this Court,
  16    through declaratory and injunctive relief, Plaintiffs will continue to suffer this
  17    irreparable harm.
  18
  19                            SECOND CAUSE OF ACTION
                 Violation of Right to Free Speech Under U.S. Const., amend. I
  20                             Mixed Political - Commercial
                                         42 U.S.C. § 1983
  21                        (By Plaintiff Crossroads Against All Defendants)
  22          190. Plaintiffs incorporate by reference paragraphs 1 through 189 of this
  23    Complaint as though fully set forth herein in their entirety.
  24          191. The state of California owns the Fairgrounds, a public venue. It is
  25    rented to the public, including community-based organizations and businesses, for
  26    its use and enjoyment, including for concerts, festivals, and industry shows.
  27          192. Plaintiff Crossroads seeks to engage in protected speech at the
  28    Fairgrounds, a noted “public assembly facility,” through the promotion and
                                                 49
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   1    production of events for lawful expressive activity, including events that bring
   2    together like-minded individuals to engage in pure political and educational speech,
   3    as well as commercial speech of vendor and individual participants to communicate
   4    offer and acceptance for the sale of legal goods and services.
   5          193. Event promoters, though they generally promote events for profit, “still
   6    enjoy the protections of the First Amendment.” Id. at 567. For “[t]he role of a
   7    promoter in ensuring access to the public is at least as critical as the role of a
   8    bookseller or theater owner and . . . is in a far better position than a concert goer or
   9    individual performers to vindicate First Amendment rights and ensure public
  10    access.” Id. at 568. The conduct they engage in is protected expression.
  11          194. Plaintiff Crossroads has a right under the First Amendment to use the
  12    Fairgrounds for its expressive activity on the same basis as other members of the
  13    public without regard to the content or viewpoint it seeks to express and promote.
  14          195. Defendants Newsom, Bonta, and Spitzer, acting under color of state
  15    law, are the state and local actors responsible for enforcing SB 264 and SB 915,
  16    which deprive Plaintiffs of free speech rights secured by the First Amendment of the
  17    United States Constitution in violation of 42 U.S.C. § 1983.
  18          196. Defendants Ross and District interpret, implement, and enforce state
  19    laws and policies in regard to the Fairgrounds, including SB 264 and SB 915, which
  20    deprive Plaintiffs of free speech rights secured by the First Amendment of the
  21    United States Constitution in violation of 42 U.S.C. § 1983.
  22          197. Due to the passage of SB 264 and SB 915, Defendant District has not
  23    and will not enter into new contracts with Plaintiff Crossroads to hold gun show
  24    events at the Fairgrounds, even though Plaintiff Crossroads has safely and legally
  25    held such events at the Fairgrounds for decades.
  26          198. Defendants’ enforcement of SB 264 and SB 915, which prohibit the
  27    sale of firearms, ammunition, and “firearm precursor parts” at the Fairgrounds with
  28    the purpose, intention, and effect of banning gun show events at the Fairgrounds and
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   1    all other state-owned properties, is an impermissible content-based restriction of
   2    speech. Such enforcement constitutes a direct violation of the free speech rights of
   3    Plaintiff Crossroads.
   4          199. Defendants have no compelling (or even legitimate) governmental
   5    interest in banning the otherwise lawful (and constitutionally protected) sale of
   6    lawful firearms, ammunition, and “firearm precursor parts” at the Fairgrounds and
   7    all other state-owned properties, or in banning gun show events and the unique
   8    expression and exchange of ideas related to promoting and preserving the “gun
   9    culture” that takes place at those events. Any purported interest in “public safety” is
  10    betrayed by the fact that SB 264 and SB 915 do not ban the possession of firearms,
  11    ammunition, or firearms precursor parts on Fairgrounds property and state law
  12    already governs sales at gun shows at least as strictly as it governs sales at “brick-
  13    and-mortar” stores.
  14          200. Further, SB 264 and SB 915 are neither narrowly tailored to nor the
  15    least restrictive means of achieving the state’s dubious interests. Indeed, by
  16    intentionally and effectively banning gun shows at the Fairgrounds and all other
  17    state-owned properties, it sweeps up all forms of speech and expressive conduct that
  18    occurs at such events and banishes it from a public venue.
  19          201. Similarly, SB 264 and SB 915 are unconstitutionally overbroad
  20    because, in an effort to restrict the commercial sale of firearms, ammunition, and
  21    “firearm precursor parts,” the law effectively and intentionally bans gun shows
  22    events altogether, seriously and deliberately burdening a vast amount of speech that
  23    does not constitute commercial speech and is fully protected by the First
  24    Amendment.
  25          202.    As a direct and proximate result of Defendants’ conduct, Plaintiff
  26    Crossroads has suffered irreparable harm, including the violation of its constitutional
  27    right to free speech, entitling Crossroads to declaratory and injunctive relief. Absent
  28    intervention by this Court, through declaratory and injunctive relief, Plaintiffs will
                                                  51
                                 FIRST AMENDED COMPLAINT
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   1    continue to suffer this irreparable harm.
   2
   3                              THIRD CAUSE OF ACTION
             Violation of Right to Commercial Speech Under U.S. Const., amend. I
   4                                  42 U.S.C. § 1983
   5             (By Plaintiffs Littrell, Merson, and CRPA Against All Defendants)
   6          203. Plaintiffs incorporate by reference paragraphs 1 through 202 of this
   7    Complaint as though fully set forth herein in their entirety.
   8          204. The state of California owns the Fairgrounds, a public venue. It is
   9    rented to the public, including community-based organizations and businesses, for
  10    its use and enjoyment, including for concerts, festivals, and industry shows.
  11          205. Plaintiffs Littrell, Merson, and CRPA have attended in the past, or
  12    represent members who have attended in the past, and wish to again attend
  13    Crossroads gun shows at the Fairgrounds to engage in lawful commercial speech
  14    with individual attendees.
  15          206. Plaintiffs Littrell, Merson, and CRPA members have a right under the
  16    First Amendment to use the Fairgrounds for expressive activity on the same basis as
  17    other members of the public without regard to the viewpoints they seek to express
  18    and promote.
  19          207. Defendants Newsom, Bonta, and Spitzer, acting under color of state
  20    law, are the state and local actors responsible for enforcing SB 264 and SB 915,
  21    which deprive Plaintiffs of free speech rights secured by the First Amendment of the
  22    United States Constitution in violation of 42 U.S.C. § 1983.
  23          208. Defendants Ross and District interpret, implement, and enforce state
  24    laws and policies in regard to the Fairgrounds, including SB 264 and SB 915, which
  25    deprive Plaintiffs of free speech rights secured by the First Amendment of the
  26    United States Constitution in violation of 42 U.S.C. § 1983.
  27          209. Defendants’ enforcement of SB 264 and SB 915, which prohibit the
  28    sale of firearms, ammunition, and “ firearm precursor parts” at the Fairgrounds with
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   1    the purpose, intention, and effect of banning gun show events at the Fairgrounds and
   2    all other state-owned properties, is an impermissible content-based restriction of
   3    speech. Such enforcement constitutes a direct violation of the First Amendment
   4    commercial speech rights of the Plaintiffs.
   5          210. Further, by directly barring the rights of vendors, like Plaintiffs Littrell,
   6    Merson, and CRPA members, to sell firearms, ammunition, and “firearm precursor
   7    parts” (which necessarily involves commercial speech), SB 264 and SB 915 defies
   8    existing case law in the Ninth Circuit protecting the commercial speech associated
   9    with firearm sales on public property. See Nordyke v. Santa Clara Cty., 110 F. 3d
  10    707 (9th Cir. 1997).
  11          211. Defendants have no substantial (or even legitimate) governmental
  12    interest in banning the otherwise lawful (and constitutionally protected) sale of
  13    lawful firearms, ammunition, and firearm precursor parts at the Fairgrounds and all
  14    other state-owned properties, or in banning gun show events and the unique
  15    expression and exchange of ideas related to promoting and preserving the “gun
  16    culture” that takes place at those events. Any purported interest in “public safety” is
  17    betrayed by the fact that SB 264 and SB 915 do not ban the possession of firearms,
  18    ammunition, or firearms precursor parts on Fairgrounds property and state law
  19    already governs sales at gun shows at least as strictly as it governs sales at “brick-
  20    and-mortar” stores.
  21          212. Even if there were a substantial governmental interest in restricting gun
  22    shows and the commercial speech that occurs at such events, it would not be directly
  23    served by a ban on sales of firearms, ammunition, and “firearm precursor parts” at
  24    the Fairgrounds and all other state-owned properties.
  25          213. Even if there were a substantial governmental interest in restricting gun
  26    shows and the commercial speech that occurs at such events, flatly banning
  27    commercial speech about firearms, ammunition, and “firearm precursor parts” at the
  28    Fairgrounds and all other state-owned properties is more extensive than necessary to
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   1    serve any such interest. See Nordyke, 110 F.3d 707 (holding that a ban on the sale of
   2    firearms on county-owned land was overbroad as abridging commercial speech
   3    associated with the sale of lawful products).
   4          214. As a direct and proximate result of Defendants’ conduct, Plaintiffs
   5    Littrell, Merson, and CRPA have suffered irreparable harm, including the violation
   6    of their constitutional right to free speech, entitling them to declaratory and
   7    injunctive relief. Absent intervention by this Court, through declaratory and
   8    injunctive relief, Plaintiffs will continue to suffer this irreparable harm.
   9
                                FOURTH CAUSE OF ACTION
  10          Prior Restraint on Right to Free Speech Under U.S. Const., amend. I
                                        42 U.S.C. § 1983
  11                        (By All Plaintiffs Against All Defendants)
  12          215. Plaintiffs incorporate by reference paragraphs 1 through 214 of this
  13    Complaint as though fully set forth herein in their entirety.
  14          216. The First Amendment affords special protection against policies or
  15    orders that impose a previous or prior restraint on speech. “[P]rior restraints on
  16    speech and publication are the most serious and least tolerable infringement on First
  17    Amendment Rights.” Ass’n for L.A. Deputy Sheriffs, 239 Cal. App. 4th at 811 (citing
  18    Neb. Press Ass’n, 427 U.S. at 559. A prior restraint is particularly egregious when it
  19    falls upon the communication of news, commentary, current events, political speech,
  20    and association. N.Y. Times Co., 403 U.S. at 715.
  21          217. Prior restraint also involves the “unbridled discretion doctrine” where a
  22    policy, or lack thereof, allows for a single person or body to act at their sole
  23    discretion, without regard for any constitutional rights possessed by the person upon
  24    which the action is taken, and where there is no remedy for challenging the
  25    discretion of the decision makers. Lakewood, 486 U.S. at 757.
  26          218. The Defendants are the state and local actors responsible for enforcing
  27    SB 264 and SB 915, which are content-based restrictions of speech that will have a
  28    chilling effect on Plaintiffs’ First Amendment rights, thus acting de facto prior
                                                  54
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   1    restraints on Plaintiffs’ rights (including a refusal to place contract approval on
   2    board agendas or to offer available dates to begin the process of renting the venue).
   3          219. Under SB 264 and SB 915, Defendant District has unfettered discretion
   4    to determine what constitutes a “sale” under the law and is thereby prohibited at the
   5    Fairgrounds. For instance, some fair boards or their employees may determine that a
   6    gun raffle does not constitute a sale and allow fundraising events with such raffles to
   7    take place on the property, while others might determine that it does constitute a sale
   8    and thus ban such events from the property.
   9          220. Defendants’ policies and practices complained of here impose an
  10    unconstitutional prior restraint because they vest the District with unbridled
  11    discretion to permit or refuse protected expression by members of the public,
  12    including Plaintiffs.
  13          221. Defendants’ policies and practices complained of here give unbridled
  14    discretion to local agricultural district boards, board members, and their employees
  15    to decide what forms of expression members of the public may engage in on at the
  16    Fairgrounds and to ban any other expression at the whim of those boards and board
  17    members in violation of the First Amendment.
  18          222. As a direct and proximate result of Defendants’ conduct, Plaintiffs have
  19    suffered and will continue to suffer irreparable harm, including the violation of their
  20    constitutional right to freedom of expression, entitling them to declaratory and
  21    injunctive relief and nominal damages.
  22
                                 FIFTH CAUSE OF ACTION
  23      Violation of Right to Assembly and Association Under U.S. Const., amend. I
                                        42 U.S.C. § 1983
  24                        (By All Plaintiffs Against All Defendants)
  25          223. Plaintiffs incorporate by reference paragraphs 1 through 222 of this
  26    Complaint as though fully set forth herein in their entirety.
  27          224. The state of California owns the Fairgrounds, a public venue. It is
  28    rented to the public, including community-based organizations and businesses, for
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   1    its use and enjoyment, including for concerts, festivals, and industry shows.
   2          225. Plaintiffs have promoted and/or attended in the past and wish to again
   3    promote and/or attend Crossroads gun shows at the Fairgrounds so they may
   4    assemble and associate with one another to engage in lawful commerce, fellowship,
   5    and expressive activities, including political and educational speech regarding the
   6    lawful ownership, possession, and use of firearms and related products.
   7          226. Plaintiffs have a right under the First Amendment to use the
   8    Fairgrounds to assemble and associate on the same basis as other members of the
   9    public without regard to the content or viewpoint it seeks to express and promote.
  10          227. Defendants Newsom, Bonta, and Spitzer, acting under color of state
  11    law, are the state and local actors responsible for enforcing SB 264 and SB 915,
  12    which deprive Plaintiffs of free speech rights secured by the First Amendment of the
  13    United States Constitution in violation of 42 U.S.C. § 1983.
  14          228. Defendants Ross and District interpret, implement, and enforce state
  15    laws and policies in regard to the Fairgrounds, including SB 264 and SB 915, which
  16    deprive Plaintiffs of free speech rights secured by the First Amendment of the
  17    United States Constitution in violation of 42 U.S.C. § 1983.
  18          229. Defendants’ enforcement of SB 264 and SB 915, which prohibit the
  19    sale of firearms, ammunition, and “firearm precursor parts” at the Fairgrounds with
  20    the purpose, intention, and effect of banning gun show events at the Fairgrounds and
  21    all other state-owned properties, violates Plaintiffs’ rights to assembly and
  22    association by denying them the right to use the Fairgrounds and all other state-
  23    owned properties otherwise open to the public for expressive uses, “public assembly
  24    facilities,” to assemble and engage in political and other types of expression—a right
  25    Defendants extend to other members of the public so long as they are not meeting
  26    for the purposes of holding a gun show event.
  27          230. Defendants have no compelling (or even legitimate) governmental
  28    interest in banning the otherwise lawful (and constitutionally protected) sale of
                                                   56
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   1    lawful firearms, ammunition, and “firearm precursor parts” at the Fairgrounds and
   2    all other state-owned properties, or in banning gun show events and, by extension,
   3    the rights of Plaintiffs to assemble and associate at the Fairgrounds and other state-
   4    owned properties otherwise open to the public. Any purported interest in “public
   5    safety” is betrayed by the fact that SB 264 and SB 915 do not ban the possession of
   6    firearms, ammunition, or firearms precursor parts on Fairgrounds property and state
   7    law already governs sales at gun shows at least as strictly as it governs sales at
   8    “brick-and-mortar” stores.
   9          231. Even if SB 264 and SB 915 served some sufficient government
  10    purpose, they are neither narrowly tailored nor the least restrictive means to serve
  11    that end.
  12          232. As a direct and proximate result of Defendants’ conduct, all Plaintiffs
  13    have suffered irreparable harm, including the violation of their constitutional right to
  14    free association and assembly, entitling them to declaratory and injunctive relief.
  15    Absent intervention by this Court, through declaratory and injunctive relief,
  16    Plaintiffs will continue to suffer this irreparable harm.
  17
                                  SIXTH CAUSE OF ACTION
  18       Violation of the Right to Equal Protection Under U.S. Const., amend. XIV
                                         42 U.S.C. § 1983
  19                         (By All Plaintiffs Against All Defendants)
  20          233.    Plaintiffs incorporate by reference paragraphs 1 through 232 of this
  21    Complaint as if fully set forth herein in their entirety.
  22          234.    Defendants, acting under color of state law, are enforcing SB 264 and
  23    SB 915, which deprive Plaintiffs of right to equal protection under the law secured
  24    by the Fourteenth Amendment of the United States Constitution in violation of 42
  25    U.S.C. § 1983.
  26          235.    On their face and as applied, SB 264 and SB 915 are unconstitutional
  27    abridgements of Plaintiffs’ right to equal protection under the law guaranteed by the
  28    Fourteenth Amendment because they are viewpoint-discriminatory and/or animus-
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   1    based restrictions on Plaintiffs’ protected speech that serve no compelling
   2    governmental interest.
   3          236.    On their face and as evidenced by the legislative history of both AB
   4    264 and SB 915, it is clear that the laws’ purpose and intention are to make a
   5    “symbolic” gesture and a “value statement” about the otherwise lawful sale of
   6    firearms and related products and of the proliferation of the “gun culture” in
   7    California and elsewhere.
   8          237.    Defendants have no compelling (or even legitimate) governmental
   9    interest in banning Plaintiffs’ speech. Indeed, any purported interest in “public
  10    safety” is betrayed by the fact that SB 264 and SB 915 do not ban the possession of
  11    firearms, ammunition, or firearms precursor parts on Fairgrounds property and state
  12    law already governs sales at gun shows at least as strictly as it governs sales at
  13    “brick-and-mortar” stores.
  14          238. Defendants’ refusal to allow Plaintiffs equal use of the public facilities
  15    while continuing to allow contracts for the use of these facilities with other similarly
  16    situated legal and legitimate businesses is a violation of Plaintiffs’ right to equal
  17    protection under the law because it is based on a “bare desire to harm a politically
  18    unpopular group.” Moreno, 413 U.S. at 534.
  19          239. Further, SB 264 and SB 915 are not narrowly tailored to achieving the
  20    state’s dubious interests.
  21          232. As a direct and proximate result of Defendants’ conduct, all Plaintiffs
  22 have suffered irreparable harm, including the violation of their constitutional right to
  23 equal protection under the law, entitling them to declaratory and injunctive relief.
  24 Absent intervention by this Court, through declaratory and injunctive relief, Plaintiffs
  25 will continue to suffer this irreparable harm.
  26 / / /
  27 / / /
  28 / / /
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   1                            SEVENTH CAUSE OF ACTION
   2        Violation of Right to Keep and Bear Arms Under U.S. Const., amend. II
                                        42 U.S.C. § 1983
   3                        (By All Plaintiffs Against All Defendants)
   4          233. Plaintiffs incorporate by reference paragraphs 1 through 232 of this
   5    Complaint as if fully set forth herein in their entirety.
   6          234. Plaintiffs Clark, Johnson, Littrell, Merson, Crossroads, and members
   7    and supporters of Plaintiffs CRPA, 2ALC, APAGOA, and SAF, have sold or bought
   8    firearms, ammunition, and/or “firearm precursor parts” at gun show events at the
   9    Fairgrounds in the past and, but for the adoption and enforcement of SB 264 and SB
  10    915, they would do so again.
  11          235. Plaintiffs have a right, under the Second Amendment, to buy and sell
  12    firearms and the ammunition and parts necessary for the effective operation of those
  13    firearms.
  14          236.    Defendants Bonta and Spitzer, acting under color of state law, are the
  15    government actors responsible for enforcing and prosecuting violations of SB 264
  16    and SB 915, which deprive Plaintiffs of their right to access firearms and
  17    ammunition secured by the Second Amendment of the United States Constitution in
  18    violation of 42 U.S.C. § 1983.
  19          237. Defendants District and Ross interpret, implement, and enforce state
  20    laws and policies in regard to the Fairgrounds, including SB 264 and SB 915, which
  21    deprive Plaintiffs of their right to access firearms, ammunition, and firearm parts
  22    secured by the Second Amendment of the United States Constitution in violation of
  23    42 U.S.C. § 1983.
  24          238. Defendants’ enforcement of SB 264 and SB 915, which prohibit the
  25    sale of firearms, ammunition, and “firearm precursor parts” at the Fairgrounds and
  26    all other state-owned venues with the purpose, intention, and effect of banning gun
  27    show events at the Fairgrounds and all state-owned fairgrounds, violates Plaintiffs’
  28
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   1    Second Amendment right to buy and sell firearms and the ammunition and parts
   2    necessary to the effective operation of those firearms.
   3          239. Defendants cannot satisfy their burden to justify their ban on the sale of
   4    firearms and ammunition at the Fairgrounds under the history- and tradition-based
   5    test applied in Heller and recently confirmed in Bruen.
   6          240. As a direct and proximate result of Defendants’ conduct, all Plaintiffs
   7    have suffered irreparable harm, including the violation of their constitutional right to
   8    buy and sell firearms and ammunition, entitling them to declaratory and injunctive
   9    relief. Without intervention by this Court, through declaratory and injunctive relief,
  10    Plaintiffs will continue to suffer this irreparable harm.
  11                                   PRAYER FOR RELIEF
  12    WHEREFORE, Plaintiffs pray for:
  13          1.     A declaration that SB 264, codified at California Penal Code section
  14    27575, violates the free speech rights of Plaintiffs Clark, Johnson, Littrell, Merson,
  15    CRPA, APAGOA, 2ALC, and SAF under the First Amendment to the United States
  16    Constitution, on its face and as applied;
  17          2.     A declaration that SB 915, codified at California Penal Code section
  18    27573, violates the free speech rights of Plaintiffs Clark, Johnson, Littrell, Merson,
  19    CRPA, APAGOA, 2ALC, and SAF under the First Amendment to the United States
  20    Constitution, on its face and as applied;
  21          3.     A declaration that SB 264, codified at California Penal Code section
  22    27575, violates the free speech rights of Plaintiff Crossroads under the First
  23    Amendment to the United States Constitution, on its face and as applied;
  24          4.     A declaration that SB 915, codified at California Penal Code section
  25    27573, violates the free speech rights of Plaintiff Crossroads under the First
  26    Amendment to the United States Constitution, on its face and as applied;
  27          5.     A declaration that SB 264, codified at California Penal Code section
  28    27575, violates the commercial speech rights of Plaintiffs Littrell, Merson, and
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   1    CRPA under the First Amendment to the United States Constitution, on its face and
   2    as applied;
   3          6.      A declaration that SB 915, codified at California Penal Code section
   4    27573, violates the commercial speech rights of Plaintiffs Littrell, Merson, and
   5    CRPA under the First Amendment to the United States Constitution, on its face and
   6    as applied;
   7          7.      A declaration that SB 264, codified at California Penal Code section
   8    27575, violates the free speech rights of all Plaintiffs under the First Amendment to
   9    the United States Constitution because it imposes a prior restraint on their speech;
  10          8.      A declaration that SB 915, codified at California Penal Code section
  11    27573, violates the free speech rights of all Plaintiffs under the First Amendment to
  12    the United States Constitution because it imposes a prior restraint on their speech;
  13          9.      A declaration that SB 264, codified at California Penal Code section
  14    27575, violates Plaintiffs’ rights of assembly and association under the First
  15    Amendment to the United States Constitution, on its face and as applied;
  16          10.     A declaration that SB 915, codified at California Penal Code section
  17    27573, violates Plaintiffs’ rights of assembly and association under the First
  18    Amendment to the United States Constitution, on its face and as applied;
  19          11.     A declaration that SB 264, codified at California Penal Code section
  20    27575, violates the rights of all Plaintiffs to equal protection under the law per the
  21    Fourteenth Amendment to the United States Constitution, on its face and as applied;
  22          12.     A declaration that SB 915, codified at California Penal Code section
  23    27573, violates the rights of all Plaintiffs to equal protection under the law per the
  24    Fourteenth Amendment to the United States Constitution, on its face and as applied;
  25          13.     A declaration that SB 264, codified at California Penal Code section
  26    27575, violates the rights of all Plaintiffs to keep and bear arms under the Second
  27    Amendment to the United States Constitution, on its face and as applied;
  28          14.     A declaration that SB 915, codified at California Penal Code section
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   1    27573, violates the rights of all Plaintiffs to keep and bear arms under the Second
   2    Amendment to the United States Constitution, on its face and as applied;
   3          15.    A preliminary and permanent injunction enjoining Defendants, their
   4    employees, agents, successors in office, and all District Attorneys, County Counsel,
   5    and City Attorneys holding office in the state of California, as well as their
   6    successors in office, from enforcing SB 264, codified at California Penal Code
   7    section 27575;
   8          16.    A preliminary and permanent injunction enjoining Defendants, their
   9    employees, agents, successors in office, and all District Attorneys, County Counsel,
  10    and City Attorneys holding office in the state of California, as well as their
  11    successors in office, from enforcing SB 915, codified at California Penal Code
  12    section 27573;
  13          17.    An order for damages, including nominal damages, according to proof;
  14          18.    An award of costs and expenses, including attorney’s fees, pursuant to
  15    42 U.S.C. § 1988 or other appropriate state or federal law; and
  16          19.    Any such other relief the Court deems just and equitable.
  17
  18    Dated: November 11, 2022              MICHEL & ASSOCIATES, P.C.

  19                                          s/ Anna M. Barvir
                                              Anna M. Barvir
  20                                          Counsel for Plaintiffs B&L Productions, Inc.,
                                              California Rifle & Pistol Association,
  21                                          Incorporated, Gerald Clark, Eric Johnson, Chad
                                              Littrell, Jan Steven Merson, Asian Pacific
  22                                          American Gun Owner Association, Second
                                              Amendment Law Center, Inc.
  23
  24    Dated: November 11, 2022              LAW OFFICES OF DONALD KILMER, APC
  25                                          s/ Donald Kilmer
  26                                          Donald Kilmer
                                              Counsel for Plaintiff Second Amendment
  27                                          Foundation

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